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              Exhibit A
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                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                   08/15/2022
                                                                                                      CT Log Number 542127065


    Service of Process Transmittal Summary

    TO:     John L Hall
            PROGRESSIVE CASUALTY INSURANCE COMPANY
            10940 WHITE ROCK RD STE 130
            RANCHO CORDOVA, CA 95670-6182

    RE:     Process Served in California

    FOR:    Progressive Commercial Casualty Company (Domestic State: OH)



    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                       ALEXANDER GAVRIC, individually and on behalf of all others similarly situated vs. UBER
                                           TECHNOLOGIES, INC.
    DOCUMENT(S) SERVED:                    Summons, Attachment(s), Complaint, Notice(s), Cover Sheet, Stipulation

    COURT/AGENCY:                          San Diego County Superior Court - Central Division, CA
                                           Case # 37202200027585CUBTCTL
    NATURE OF ACTION:                      Insurance Litigation

    PROCESS SERVED ON:                     C T Corporation System, GLENDALE, CA

    DATE/METHOD OF SERVICE:                By Process Server on 08/15/2022 at 03:10

    JURISDICTION SERVED:                   California

    APPEARANCE OR ANSWER DUE:              Within 30 days after service (Document(s) may contain additional answer dates)

    ATTORNEY(S)/SENDER(S):                 Thomas A. Leary
                                           Law Offices of Thomas Leary, APC
                                           3023 First Avenue
                                           San Diego, CA 92103
                                           619-291-1900
    ACTION ITEMS:                          CT has retained the current log, Retain Date: 08/16/2022, Expected Purge Date:
                                           08/21/2022

                                           Image SOP

                                           Email Notification, John L Hall john_hall_10@progressive.com

                                           Email Notification, Jay Wesolowski jay_t_wesolowski@progressive.com

                                           Email Notification, Laura Tubbs Laura_D_Tubbs@progressive.com

                                           Email Notification, Tiffany L Moore tiffany_l_moore@progressive.com

    REGISTERED AGENT CONTACT:              C T Corporation System
                                           330 N BRAND BLVD
                                           STE 700
                                           GLENDALE, CA 91203
                                           800-448-5350
                                           MajorAccountTeam1@wolterskluwer.com




                                                                                                                       Page 1 of 2
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                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                     08/15/2022
                                                                                                        CT Log Number 542127065



    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
    and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
    information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
    included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
    disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
    contained therein.




                                                                                                                          Page 2 of 2
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                                                              O.Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS



Date:                               Mon, Aug 15, 2022
Server Name:                        Douglas Forrest




 Entity Served           PROGRESSIVE COMMERCIAL CASUALTY COMPANY

 Case Number             37202-200027585CUBTCTL

 J urisdiction           CA



                                         Inserts
        Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.16 Page 5 of 61

                                                                                                                                                      SUM-100
                                            SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                  (CITACION JUDICIAL)
                                                                                                                       tLECTROHICALLYTILED
 NOTICE TO DEFENDANT:                                                                                                     upenor Court of l3alifomia
(AVISO AL DEMANDADO): UBER TECHNOLOGIES,INC., a Delaware corporation;
  RASIER, LLC,a Delaware limited liability company; RASIER-CA,LLC, a Delaware                                            O11249            t,{113:56:•. 11.,prii--
   limited liability company; [Additional Parties Attachment Form Attached]                                              ‘
                                                                                                                         0rilli   oftheP.0#-ricir;40it,
 YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
  ALEXANDER GAVRIC,individually and on behalf of all others similarly situated.
   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
  Online Self-Help Center (www.courtinfo.ca.goviselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
  aourt clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la cone puede decidir en su contra sin escuchar su version. Lea la informacien a
  continuacion.
     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
  carte y hacer que se entregue una copia al demandante. Una carta o una Hamada telef6nica no la protegen. Su respuesta por escrito tiene que estar
  en format° legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted puede usar para su respuesta.
 Puede encontrar estos formularios de la cone y mas infonnacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la cone que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secretario de la cone que
  le dé un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede pettier el caso por incumplimiento y la carte le podra
  guitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otnos requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
  remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales graturtos de un
  programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto can la cone o el
  colegio de abogados locales. AVISO:Par ley, la cone tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
  cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la carte antes de que la cone pueda desechar el caso.
 The name and address of the court is:                                                        CASE NUMBER:(NOmero del Caso):
(El nombre y direccion de la code es):                                                                   37-2022-00027585- C U- EIT-CTL
 San Diego Superior Court - Central Division
 330 West Broadway, San Diego, CA 92101
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
 de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
  HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO,APC
  275 West Market Street, San Diego,CA 92101;(619)550-1355
 DATE:                                                                         Clerk, by                                          , Deputy
( Fecha)     07/14,2022                                                                                   J. Siharath             (Adjunto)
                                                                               (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el forrnulario Proof of Service of Summons,(POS-010).)
                                  NOTICE TO THE PERSON SERVED: You are served
                                       1. -
                                          1 7 as an individual defendant.
                                       2.          as the person sued under the fictitious name of (specify):

                                       3.          on behalf of(specify):
                                                                            prococss                                         6(4
                                            under:
                                                                            ‘c.fAckiGt.
                                                           CCP 416.10 (corporation)
                                                                                        co                          CCP 416.60(minor)
                                                                                                                                                    $re_cSi
                                                           CCP 416.20 (defunct corporation)                  1 7 CCP 416.70(conservatee) cLIVrAAA.
                                                                                                             -
                                                    El     CCP 416.40 (association or partnership)           -
                                                                                                             1 7 CCP 416.90(authorized person)
                                                    I—I other (specify):
                                      4.           by personal delivery on (date)                                                                        Page 1 of 1
 Form Adopted for Mandatory Use                                        SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
 Judicial Council of California                                                                                                                    www.courts.ca.gov
 SUM-100 [Rev. July 1,2009]
      Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.17 Page 6 of 61
          I•


                                                                                                                           SUM-200(A
                                                                                             —CASE NUMBER: _
    SHORT TITLE:
      ALEXANDER GAVRIC,et al. v. UBER TECHNOLOGIES,INC., et al.                                   37-2022-00027585-CU-BT-CTL


                                                       - INSTRUCTIONS FOR USE
   3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons:"Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

     F-1 Plaintiff                  X Defendant    -
                                                   1 1 Cross-Complainant        Cross-Defendant

    PROGRESSIVE COMMERCIAL CASUALTY CORP. dba PROGRESSIVE INSURANCE,a Ohio corporation;
    BLUE HILL SPECIALTY INSURANCE COMPANY, INC., a Ohio corporation; and DOES 1 through 100,
    inclusive.




                                                                                                                Page           of
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                  ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rev. January 1,2007]                         Attachment to Summons
Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.18 Page 7 of 61




          1
                                                                              ea,   4;40016 fL,4.100
                                                                               Superiöi CoUrt of California;
         Thomas A. Leary, Esq., SBN 123792
         LAW OFFICES OF THOMAS LEARY,APC                                                        b.i d•
       2 3023 First Avenue                                                     0 41400 at 06
         San Diego, California 92103                                           OrOkRfttii:g,0099::PPu'd•
       3 Phone: 619-291-1900
                                                                                              ri4iirttArte
       4 Robert Hamparyan,Esq. SBN 181934
         Aida Van Herk, Esq. SBN 297607
       5 HAMPARYAN PERSONAL INJURY
         LAWYERS SAN DIEGO,APC
       6 275 W. Market Street
         San Diego, CA 92101
       7 Phone: 619-550-1355

       8      Attorneys for Plaintiff individually and on behalf
              of all others similarly situated,
       9

      10

      11                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

      12                             IN AND FOR THE COUNTY OF SAN DIEGO

      13

      14       ALEXANDER GAVRIC,individually and)               CASE NO. 37-2022-00027585-C        CTL
               on behalf of all others similarly situated, )
      15                                                   )    CLASS ACTION COMPLAINT FOR
                                       Plaintiff,          )    DAMAGES AND INJUNCTIVE RELIEF
      16                                                   )    BASED ON:
                      v.                                   )
      17                                                   )   (1) UNLAWFUL PRIVATE GAG ORDERS
                                                           )   (Civ. Code section 1670.8)
      18      UBER TECHNOLOGIES, INC., a)
              Delaware corporation; RASTER, LLC, a)            (2) VIOLATIONS OF THE UNFAIR
     19       Delaware limited liability company;)              COMPETITION LAW (Bus. & Prof. Code
              RASTER-CA, LLC, a Delaware limited)               sections 17200 et seq.)
     20       liability company; PROGRESSIVE)
              COMMERCIAL CASUALTY CORP. dba )                  (3) BREACH OF CONTRACT
     21       PROGRESSIVE INSURANCE, a Ohio)
              corporation; BLUE HILL SPECIALTY)                (4) BREACH OFIMPLIED COVENANT OF
     22       INSURANCE COMPANY,INC., a Ohio)                   GOOD FAITH AND FAIR DEALING (BAD
              corporation; and DOES 1 through 100,)             FAITH)
     23       inclusive,                                   )
                                                        ) (5) INTERFERENCE WITH CONTRACT
     24                             Defendants.
                                                               (6) AIDING AND ABETTING BREACH OF
     25                                                         IMPLIED COVENANT OF GOOD FAITH
                                                                AND FAIR DEALING(BAD FAITH)
     26
                                                               (7)INTENTIONAL MISREPRESENTATION
     27
                                                               JURY TRIAL DEMANDED
     28


                                                          -1-
                                                CLASS ACTION COMPLAINT
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       I           Plaintiff Alexander Gavric by and through their undersigned attorneys, on behalf of

       2 themselves and all others similarly situated, hereby allege as follows:

       3   I.      INTRODUCTION

       4           1.This is a class action complaint("Complaint")brought against Defendants by individuals,

       5   who pursued uninsured/underinsured ("UM/UIM") bodily injury claim(s) or wrongful death

       6   claim(s) arising from damages sustained as a result of their Uber ride share service contract in

       7   California. Despite each claimant's valid UM/UIM claims, UM/UIM settlements and any

       8   payments thereof were made conditional upon life-long sentences of silence.

      9            2.Despite claimants' valid UM/UIM claims, first-party benefits were unlawfully withheld

      10   and payments were purposefully delayed, unless and until claimants each agreed to Defendants'

      11   demands to execute an unlawful release containing confidentiality and non-disparagement

      12   provisions. Claimants injured as a result ofUber's ride share services were forced into an untenable

      13   position against giant corporations - either sign away their rights or forgo compensation for their

      14   injuries.

      15          3. Defendants' conduct broke the law, breached the covenants ofgood faith and fair dealing

      16   owed to the UM/UIM claimants, and stifled their rights to free speech. Defendants' strong-arm

      17   tactics to silence injured parties were and continue to be intentionally exercised in order to protect

      18   Uber's self-promoting public image of what falsely appears to be a safe and reliable transportation

      19   service. Uber's unlawful business practices,purposefully designed to hide negative publications and

     20    concealthe truth,have been and continue to be shamelessly executed by Defendants to maintain and

     21    increase its users(i.e. customers)and prop up its stock price, all while breaching their duties to first-

     22    partyUM/UIM claimants and denying the public access to accurate safety and reliability information

     23    so that they may make informed decisions as consumers about whether to use Uber's ride share

     24    services.

     25           4.In this action,Plaintiff on behalf ofthemselves and all others similarly situated ("Class")

     26 seek an order permanently enjoining Defendants from engaging in these ongoing unlawful and

     27 unfair practices, and request restitution as appropriate, civil penalties, damages, and all other

     28 relief available under California law.


                                                         -2-
                                               CLASS ACTION COMPLAINT
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       1           5. All allegations in this Complaint are based upon information and belief, except for those

       2   allegations which pertain to the Plaintiff named herein and their counsel. Each allegation in this

       3   Complaint either has evidentiary support or is likely to have evidentiary support after a reasonable
       4   opportunity for further investigation and discovery.

       5          6. All allegations herein are hereby incorporated into each cause of action to the extent

       6   necessary or useful to clarify and complete each stated cause of action, to avoid repetition and

       7   redundancy.

       8   II.     JURISDICTION AND VENUE

      9           7. This Court has subject matter jurisdiction over all causes of action alleged in this
      10   Complaint and is a Court of competent jurisdiction to grant the relief requested, pursuant to the

      11   California Constitution Article VI, Section 10, and is a Court being of competent jurisdiction to

      12 grant the relief requested.

      13           8. Plaintiff's claims for violations of California Civil Code Section 1670.8; for California

      14 Business &Professions Code Sections 17200,et seq.;for breach and interference ofcontract;for bad

      15   faith conduct; and for intentional misrepresentation; arise under the laws ofthe State of California,

      16   are not preempted by federal law, do not challenge conduct within federal agency's exclusive

      17   domain, and are not statutorily assigned to any other trial court.
      18          9. Defendants each transact business in the State of California, with the unlawful conduct

      19   occurring predominantly or exclusively within the State of California and was intended to and did

     20 substantially affect business and commerce within this State.
     21           10. The named Plaintiff and the members ofthe Class exceed 100 persons with greater than

     22 two-thirds of the members ofthe Class in the aggregate being citizens of California.

     23           1 1. At least one Defendant is a defendant whom significant relief is sought by the named
     24 Plaintiff and the Class; whose alleged conduct forms a significant basis for the claims asserted by

     25    the named Plaintiff and the Class; and who is a citizen of California.

     26           12. No other class action has been filed asserting the same or similar factual allegations

     27 against any ofthe Defendants on behalf ofthe same or other persons.

     28 / / /


                                                          -3-
                                              CLASS ACTION COMPLAINT
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        1           13. Venue is proper in this Court pursuant to sections 395 and 395.5 of the Code of Civil

        2 Procedure because one or more of the Defendants conducted substantial business in the City and

        3   County ofSan Diego.The injuries that have been sustained as a result ofDefendants'illegal conduct

       4    occurred in part in the City and County of San Diego.

       5    III.      THE PARTIES

       6    A. Plaintiffs

       7            14. PlaintiffAlexander Gavric("Mr. Gavric") is a California Citizen,residing in San Diego

       8    County, California. Mr. Gavric suffered injuries as a result ofan Uber ride share incident occurring

       9 in California on or around October 18, 2020. Defendants required Mr. Gavric sign a release

      10 containing a confidentiality clause, a waiver ofrights, and non-disparagement clause in order for a

      11    settlement to be had. Such a release was signed on or around August 26, 2021.

      12            15. The named Plaintiff and the Class are collectively referred to herein as "Plaintiffs."

      13    B. Defendants

      14            16. Defendant Uber Technologies,Inc.,("Uber")is a Delaware Corporation. Uber maintains

      15    its headquarters and principal place ofbusiness in the City and County ofSan Francisco, California.

      16            17. Defendant Rasier, LLC is a Delaware Corporation. Rasier, LLC maintains its

      17 headquarters and principal place of business in the City and County of San Francisco, California.

      18    Defendant Rasier-CA,LLC is a Delaware Corporation. Rasier-CA,LLC maintains its headquarters

      19    and principal place ofbusiness in the City and County of San Francisco, California.

      20            18. Uber is the parent company of Rasier, LLC, and Rasier-CA, LLC. Defendants Uber,

      21    Rasier,LLC,and Rasier-CA,LLC,are collectively referred to herein as"Defendant Uber"or"Uber."

      22            19. Defendant Progressive Commercial Casualty Corporation operating as Progressive

      23    Insurance("Progressive") is an Ohio Corporation.Progressive is licensed to market,underwrite,and

      24 sell insurance and insurance-related services in the state of California.

      25           20. Defendant Blue Hill Specialty Insurance Co. Inc.("Blue Hill") is an Ohio Corporation

      26    that is a subsidiary of Progressive. Defendants Progressive and Blue Hill, are collectively referred

      27    to herein as "Defendant Progressive" or "Progressive."

      28 / / /


                                                         -4 -
                                               CLASS ACTION COMPLAINT
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       1          21. Doe Defendants 1 through 100, inclusive, whether individuals, corporations, insurers,

       2   partnerships, or otherwise, are fictitious names of Defendants whose true names are, at this time,

       3   unknown to Plaintiff. Plaintiff is informed and believes and thereon alleges that each of the

       4   fictitiously named Defendants is responsible in some manner for the occurrences alleged herein,and

       5   that Plaintiff's damages were proximately and legally caused by those defendants. Plaintiff will

       6   amend this Complaint to reflect the true names and capacities of Does 1 through 100 when

       7   ascertained.

       8          22. Furthermore, the Doe Defendants in this action committed the same or similar acts

       9   alleged as the named Defendants herein. Therefore, all acts alleged to have been committed by the

      10   named Defendants are also alleged to have been committed by the Doe Defendants.

      11          23. Each reference in this Complaint to "Defendant,""Defendants," or specifically named

      12 defendants refers to all named defendants and those sued under fictitious names.

      13          24.At all times relevant,Defendants,and each ofthem,were acting as the agents,employees,

      14 joint venturers, representatives, brokers, managing officers, co-conspirators, and/or alter egos of
      15   each other, and were acting within the course and scope of such employment or agency, with the

      16   power and authority vested in them as employees or agents, and with the advanced knowledge,

      17   acquiescence or subsequent ratification,either expressed or implied,ofeach ofthe other Defendants

      18   in performing the acts alleged herein.

      19          25. As alleged more fully below, each of the Defendants participated and acted with or in

      20 furtherance, or aided or assisted in carrying out the purposes of the unlawful conduct, and have
      21   performed acts and made statements in furtherance ofthe violations of California law.

      22          26.Each Defendant acted both individually and in alignment with the other Defendants with

      23   the full knowledge of their respective wrongful conduct. As such, Defendants conspired together,

      24   building upon each other's wrongdoing, in order to accomplish the acts outlined herein.

      25   IV.    GENERAL ALLEGATIONS

      26          What is Uber?

      27          27. Uber is a private for-profit company that,in part, markets and sells to consumers ground

      28   transportation services, which essentially involves calling for a vehicle and a driver to take a person


                                                         -5 -
                                               CLASS ACTION COMPLAINT
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        1   to a place or places for a fee, otherwise known as a "ride share." Uber first started in approximately

       2 2009 as "UberCab," which was a black car service, limited to people in San Francisco.

       3            28. Since then,Uber has gained popularity over traditional taxi services as the primary option

       4 for on-demand everyday transportation, particularly since Uber markets itself as cheaper, more

       5    convenient, safer, and more reliable for the customer. Uber has essentially upended ground

       6    transportation services globally as it transports consumers all over the world. Since Uber's inception,

       7    there have been consistent year over year increases in its users and revenue for its ride share services.

       8    According to Uber, it provided approximately 1.8 billion trips grossing about $25.9 billion in

       9    bookings in Quarter 4 of year 2021 alone.

       10           29. As a common carrier under California law, transporting people from one location to

      11    another for profit, Uber must use the highest and utmost care, vigilance, and diligence for the safe

      12    transportation of its passengers. It must provide everything that is needed to safely transport

      13    consumers, and in doing so, Uber must exercise all care, skill, and foresight that can be reasonably

      14    exercised under the circumstances in order to avoid causing injuries to passengers.

      15            30. Indeed,Uber proclaims that it is the safest and most reliable ride share service company

      16    in the industry and that it is"committed to safety...with the aim of reducing incidents."In fact, Uber

      17    markets the company as one ofthe safest ways to get from A to B and touts that it is not only fully

      18    dedicated to accountability and action on safety but that it has set the "gold standard" for safety

      19    practices. Uber contends that by being transparent and holding themselves publically accountable

      20 for its safety issues, it can make ride share services safer for everyone.

      21            31. Despite making such bold safety and transparency representations to consumers,Uber's

      22    actions as alleged herein tell a different story. In fact, Uber has gone to great lengths to ensure that

      23    users injured from an Uber ride share will never speak about their Uber services, effectively

      24    eliminating scores of bad public reviews.

      25            32. In reality, Uber's ride share services are not as safe nor transparent as it leads on. Rather,

      26    Uber has simply implemented a business strategy that unlawfully silences its users injured from

      27    ride share services so that Uber can falsely keep up the appearance of a transparent and safe

      28    company.


                                                               6
                                                 CLASS ACTION COMPLAINT
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       1   Left unchecked, Defendants will continue to intentionally flout the law, concealing the truth and

       2   misleading the public, consumers, and regulatory agencies, all to Defendants' financial benefit.

       3           Uber's History of Silencing Injured Parties

       4           33. Uber has a long history ofsilencing people. For almost a decade,Uber forced passengers

       5   who were raped,assaulted,or harassed by Uber drivers to resolve their cases through arbitration and

       6   confidential settlement releases, with the objectives of silencing those Uber passenger victims;

       7   shielding Uber from public scrutiny; and creating a false illusion of Uber passenger safety and

       8   security. Uber's muzzling tactics including confidentiality,non-disclosure, and non-disparagement

       9   agreements in favor ofUber,were employed to prevent the public,including present and future Uber

      10   consumers, from learning about the frequency and severity of rapes, harassment, and assaults by

      11   Uber drivers against Uber passengers. Uber's goal was to make it less likely that injured passengers

      12   and others would speak up,all to the detriment ofpassenger safety and other important public policy

      13   needs. At the same time,Uber continued to hold itself out to the public as a company that provided

      14   a safe and reliable transportation service.

      15           34. It was not until a California class action, in or around November 2017, forced Uber to

      16   retreat from such silencing measures, and when Uber's chief legal officer, Tony West, announced

      17   that the company was dropping the mandatory confidentiality provisions it had with drivers,riders,

      18   and employees for claims of sexual assault or harassment in an effort to maintain the public's trust

      19 for Uber. Uber further announced that it would publish a "safety transparency report" that would

      20   include data on sexual assaults and incidents that occur within Uber.

      21           35. However, despite Mr. West's promise for Uber's transparency and accountability as a

      22   whole, the public and others have remained and continue to remain completely in the dark with

      23   respect to Uber's ongoing numerous ride share incidents, including the substantial pay outs to

      24   victims of Uber's ride-share services, including those injured or killed in an Uber accident.

      25           36. For years,and continuing through the present date,Uber has wrongly concealed important

      26 information regarding the details, frequency, and prevalence of incidents from the public by engaging in

      27   unlawful tactics to forever silence injured parties. Simply put, the less bad news about Uber ride

      28   share incidents there is, the safer and more reliable its services outwardly appear to the public.


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       I           How Does Uber Continue To Silence Injured Parties?

       2           37. Uber knows its public image is tremendously important to keep its market share in the

       3   ride share industry as it is critical to Uber's success. If the public sees Uber and its drivers as

       4   dangerous, then its customers may shift to a competitor, including taxi companies, ultimately

       5   resulting in less users,less rides,and less revenue for the company.Additionally,negative media and

       6   attention towards Uber is not something that its investors like to hear.

       7           38. Therefore,in order to maintain the image ofa safe and reliable company,Uber continues

       8   to silence injured parties through its implementation of a business strategy that ensures that the

       9   public including safety regulators do not find out about the true number ofincidents causing injuries

      10   to Uber ride share passengers.

      11           39. As part of a consumer's purchase of an Uber ride share service, and as required by law,

      12   passengers in standard Uber rides are provided with first-party UM/UIM motorist coverage for

      13   injuries that occur as a result of a ride share. From approximately 2015 through the present, primary

      14   insurance coverage in California was and is through James River, Progressive, and other DOE insurers.

      15          40. In the event that a passenger is injured and they elect to pursue a UMXIM bodily injury

      16   and/or death claim(s), Uber, through insurance companies, purposefully delays settlements and

      17   withholds payments thereofunless and until Uber has successfully intimidated a claimant into a life-

      18   long commitment ofsilence.

      19          41. For years and to date, Uber's customary business practice is to unlawfully interfere with

      20   the first-party duties owed by insurance companies to first-party claimants injured as a result of an

      21   Uber ride share service. Despite knowing that first party claimants are entitled to the covenants of

      22   good faith and fair dealing,Uber insisted and continuesto insist thatinsurance companies'first-party

      23   UM/UIM settlement offers were and are made expressly conditional on the execution of a release

      24   and agreement containing strict confidentiality and non-disparagement provisions, with the goal of

      25   preventing claimants from speaking freely about Uber, the incident, and/or any settlement monies

      26   received. By backing injured passengers into a proverbial comer, Defendants unlawfully gain the

      27   silence ofclaimants forever, allowing Uber to hide facts about ride share incidents and mitigate its

      28   losses by maintaining the illusion that its services are safe.


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       1          42. Plaintiff has been subjected to Defendants' unlawful actions including delayed

       2   settlements and the withholding ofUM/UIM benefits that they were otherwise lawfully entitled to

       3   until they were coerced into signing a release,in violation ofCalifornia law,that effectively muzzled

       4   them forever.

       5          Defendants' Settlements Contingent Upon Silencing Clauses

       6          43. It is indisputable that court case files are public records and subject to public inspection.

       7   California Rules of Court,rule 2.400(a)states that all papers in the court files may be inspected by

       8   the public in the office of the clerk. The Superior Court of California, including the County of San

       9   Diego, in accordance with Rule 2.5.5 provided that it is the policy of the court that confidentiality

      10   agreements and protective orders are disfavored and should be recognized and approved by the court

      11   only when there is a genuine trade secret or privilege to be protected.

      12          44. Despite the public's rights to open courts and judicial records, Defendants repeatedly

      13   require complete secrecy from UM/UIM claimants injured as a result of an Uber ride share service.

      14          45. In fact, Defendants make it clear upon the mere initiation of a claim and repeatedly

      15   thereafter, that UM/UIM settlement offers will be and are expressly conditional upon a release

      16   containing strict confidentiality and non-disparagement clauses. Indeed, if a UM/UIM claimant

      17   desires to receive any compensation for injuries resulting from an Uber ride share incident,claimants

      18   must each agree to a lifelong sentence ofsilence. Without such an agreement, Defendants threaten

      19   claimants that the settlement will not be had and payment will be delayed.

      20          46. At all times material, Progressive's response upon receipt of a letter of representation
      21   states the following:"When we reach a settlement agreement,the required release will include non-
      22   disclosure and non-disparagement language." (Such a redacted document is attached hereto.)

      23         47. At all times material, Progressive's subsequent letters referencing claim information

      24   contain the following language:"**Please note that once we have reached a settlement agreement,

      25   the required release will include non-disclosure and non-disparagement language. This release will

      26   need to be executed by both the attorney and client(s) with a notary stamp needed. Please
      27   contact me with any concerns before settlement, to avoid delay in release of funds.**"(Such a
      28   redacted document is attached hereto.)


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       1           48. At all times material, Progressive's written settlement offers were made and continue to

       2   be made to UM/UIM claimants with the following language:"We would like to confirm our offer

       3   of[$ amount] for settlement of[name of claimant]'s uninsured/underinsured motorist claim.""**

       4   As this policy is maintained by Uber, our release will include a non-disclosure and non-

       5   disparagement clause that will need to be signed off WITH a notary by the client as well as the

       6   attorney in order for us to have a settlement*" (A redacted conditional settlement offer is

       7   attached hereto.)

       8          49. The strict confidentiality provision in Defendants' release lists "Confidential

       9   Information" as the following:(1)The Release and all of its terms,(2)the settlement amount,any

      10   prior offers,and negotiations leading up to the Release,(3)the identity ofthe Parties to the Release,

      11   and/or(4)any facts giving rise to the Release that could identify any Released Party. The provision

      12   further states that the Releasor(s) agree not to publish, disclose, seek publicity, advertise, or allow

      13   access to any "Confidential Information" including but not limited to using and/or communicating

      14   on, with and/or to (a) social/digital media; (b) traditional media (print, television, radio, press

      15   conferences,or public statements;(c)owners oftaxi or livery service companies and organizations

      16   that represent their interests; and/or(d) the interne.(A standard release that was never signed is

      17   attached hereto.)

      18          50. Defendants not only tell the releasor claimant what they cannot say,but to further control

      19   the public narrative, Defendants tell them what to say if an inquiry is made with respect to the

      20   settlement or facts giving rise to the same. Specifically, Defendants direct that a releasor claimant

      21   shall respond by saying only,"...no comment other than this matter was resolved."

      22          51. Even worse, in some cases, Uber threatens the claimant releasor with penalties. If the

      23 confidentiality provision is violated, Defendants write that "Releasor(s) must pay to Uber

      24 Technologies, Inc., 25% of the settlement amount in liquidated damages per violation plus

      25 // /

      26 ///

      27 / / /

      28 ///


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       1   reasonable attorneys'fees and costs incurred to enforce the Release in the event that the Releasor(s)

       2   disclose the Confidential Information."

       3           52. Defendants also pile on a non-disparagement clause requiring that the injured claimant
       4   agree never to ever defame, disparage, or impugn Uber and its ride share services.

       5           53. At all times material, Defendants' unlawful and despicable business tactics as described

       6   above ensure that the details regarding Uber's ride share incidents and related safety information are

       7   tightly sealed off from consumers and the public, shielding Uber from any bad press or reviews.

       8   Ultimately,this allows Uber to skew its reported ride share incident data, allowing it to maintain and

       9   promote to the public a false illusion ofsafety and reliability.

      10          Defendants' Flagrant Violation of California Laws

      11          a.Forcing Claimants to Execute UM/UIM Release and Waiver ofRights

      12          54. At all times material, Defendants were legally obligated to adhere to California laws,
      13   including California Insurance Code Section 11580.2(h), which provides that UM/UIM benefits,

      14   must be paid without the first party claimant being required to sign any release or waiver or rights

      15   to which he may be entitled under UM/UIM bodily injury insurance coverage. First party bodily

      16   injured claimants, are entitled, as a matter of law, to recovery under the UM/LTIM endorsement or

      17   coverage without being required to sign any release or waiver of rights.

      18          55. Despite such obligations, Defendants communicate UM/UIM settlement offers and then

      19   upon their committing that settlement offer to a writing, Defendants, as discussed above, delay

      20   settlements and withholding benefits until claimants agree to sign a release containing strict

      21   confidentiality and non-disparagement clauses, and a complete waiver of rights, in direct violation

      22   of California law.

      23          b.Forcing Non-Disparagement Clauses

      24          56. At all times material, it was unlawful in California to include non-disparagement clauses
      25   in consumer contract agreements. The "Yelp Law" which went into effect on January 1, 2015 was

      26   designed to stop businesses from including clauses in their consumer contracts or terms of service

      27   agreements prohibiting the consumer from posting negative comments or reviews online. The law,

      28   codified at Cal. Civ. Code section 1670.8,specifically provides that a contract or proposed contract


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       1   for the sale or lease of consumer goods or services may not include a provision waiving the

       2   consumer's right to make any statement regarding the seller or lessor or its employees or agents

       3   concerning the goods or services. It is also unlawful to threaten or to seek to enforce a provision

       4   made unlawful under section 1670.8 or to otherwise penalize a consumer for making any statement

       5   regarding the seller or its employees,agents,goods,or services. Further,any waiver ofthe provisions

       6   ofthis section is contrary to public policy, and is void and unenforceable.

       7           57. From the inception of a UM/UIM claim, Defendants begin making it clear to each

       8   claimant that any settlement reached will be contingent upon a non-disparagement clause. Without

       9   such an agreement,Defendants threaten that a settlement will not be had and therefore payment will

      10   be withheld and delayed.

      11           58. Defendants' non-disparagement provision states that releasor(s)shall not take any action
      12   or make any statements, verbal, electronic, or written, to any third-party that disparage or defame

      13   Defendants with regard to any details regarding the claim or settlement. By making its settlement

      14   offers contingent upon signing a non-disparagement provision, Defendants have effectively sought

      15   to unlawfully prohibit a claimant consumer injured through their ride share service agreement from

      16   speaking the truth about their Uber experience.

      17          59. Uber knows that claimant consumers injured by its ride share services are the most likely

      18   consumers to make a negative statement about Uber. Defendants are also acutely aware ofthe effect

      19   that bad reviews can have on Uber's. bottom line. Therefore,Defendants strap the non-disparagement

      20   clause to the strict confidentiality clause forcing claimant consumers to waive their rights to

      21   comment about the incident or any settlement obtained as a result of injuries suffered from a Uber

      22   ride share incident, since publically disseminated statements of the same would undoubtedly be

      23   viewed as negative and disparaging.(See standard release never signed.)

      24          60.In some instances,Defendants'settlement agreements further threaten liquidated damages
      25   to the injured party in that they must pay Uber a specified amount(25% of the settlement amount)

      26   if the confidentiality agreement or non-disparagement clauses are breached. Uber also threatens

      27   the injured party with having to pay Uber's attorneys' fees if it sues the injured party for violating

      28   the conditions - all in direct violation of California law.


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        1           Defendants' First Party Insurance Bad Faith Conduct

       2           61. Progressive owes a duty to Uber passengers who pursue UM/LT1M claims to deal in good
       3 faith as such a duty extends to beneficiaries not parties to the insurance contract,in as much as public

       4    policy of California declares that uninsured motorist coverage was provided for their benefit.

       5           62. While Uber passengers are not individually named as insureds under UM/UIM policy,
       6    Uber passengers are considered insureds and intended beneficiaries of the UM/UIM insurance

       7    coverage and in accordance with the plain language of the policy. Accordingly, injured Uber

       8    passengers are entitled to first-party benefits and rights under the Progressive policy.

       9           63. Despite such duties, Progressive, with Uber's oversight, wrongly and unlawfully
      10    intimidated and pressured injured claimants by dangling a settlement in front of each of them

      11    intentionally misrepresenting that the settlementcould only be had ifthe claimant agreed to a release

      12    waiving all rights away including any future claims. By doing so,Progressive violated the law and

      13    intentionally breached their contract including their duties of good faith and fair dealing that were

      14    undoubtedly owed to Uber injured UM/U:1%/i claimants.

      15           64. Progressive further breached its duties by intentionally, maliciously, oppressively, and
      16    despicably delaying and withholding UM/UIM settlements and payments thereofat Uber's direction

      17    until claimants agreed to execute a signed release containing unlawful and abusive confidentiality,

      18    non-disparagement,and/or liquidated damage provisions that were purposefully designed to punish

      19    and milz7le Uber injured passengers. Defendants actions delaying settlements and withholding

      20    settlement monies for valid UM/UIM claims directly breached their duties of good faith and fair

      21    dealing that were owed to claimants.

      22           65. After wrongfully and unlawfully inducing claimants to consent to such a release,
      23    Defendants unilaterally     assigned a portion (at least $100) of the settlement amount as

      24 "separate and specific consideration" for the confidentiality and non-disparagement provisions to

      25    make it seem as if the unlawful provisions were bargained for and that the agreement and release

      26    were entered into by claimants freely and voluntarily, while at the same time wrongly exposing

      27    claimants to financial tax consequences.
      28    // /


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       1           66.Despite Uber's knowledge ofthe duties owed byProgressive and other insurers to injured
       2   claimants under the UM/LTIM insurance contract, Uber knowingly,intentionally, maliciously, and

       3   repeatedly interfered and aided Progressive to breach their first-party duties to injured claimants.

       4   Progressive and other insurers each had an economic relationship with Uber which was substantially

       5   likely to result in future economic benefit to them should they act in concert with Uber to forever

       6   silence ride share injured claimants to protect Uber's image and market share, while intentionally

       7   flouting the law in conscious disregard of UM/UI1V1 claimants' rights.

       8   V.      CLASS ACTION ALLEGATIONS

       9          67. Plaintiff brings this action on behalf of themselves and all others similarly situated as a
      10   class action, and thus seek class certification under California Code of Civil Procedure section 382.

      11          68. All claims alleged herein arise under California law for which Plaintiff seeks relief
      12   authorized by California law.

      13          69. Plaintiffbrings this action on behalfofthe following Class: All UM/U1M claimants who
      14   suffered injuries as a result ofan Uber ride share service occurring in California on or after January

      15   1,2015 whose settlement offers and payments thereof were contingent upon their execution of a

      16   release containing a confidentiality clause with or without an associated liquidated damages

      17   provision, a waiver of rights, and/or a non-disparagement clause.

      18          70. Plaintiff Mr. Gavric is a representative party who will fully and adequately protect the
      19   interests of the proposed Class members. Plaintiff has retained counsel who are experienced and

      20   competent in both class action,first party bad faith actions,and consumer litigation. Plaintiffhas no

      21   interests which are contrary to or in conflict with those of the Class they seek to represent.

      22          71. Excluded from the Class are (i.) Defendants, any entity in which Defendants have a

      23   controlling interest or which has a controlling interest in Defendants, and Defendants legal

      24   representatives, predecessors, successors, and assigns;(ii.) governmental entities;(iii) Defendants'

      25   employees, officers, directors, agents, and representatives and their family members; and (iv.) The

      26   Judge and staff to whom this case is assigned, and any member of the Judge's immediate family.

      27          72. Plaintiff reserves the right to amend the Class definition if discovery or further
      28   investigation reveal the Class should be expanded or otherwise modified.


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        1          73. The members ofthe Class is so numerous thatjoinder ofall members is impracticable.

       2    Uber's ride share transportation service is available to consumers throughout the State ofCalifornia.

       3    While the exact number of Class members is unknown to Plaintiff at this time, Plaintiff is

       4    informed and believes that Class numbers will be in the thousands.

       5           74. This action has been brought and may properly be maintained as a class action because
       6    there is a well-defined community of interest amongst the Class in this litigation which common

       7    issues predominate. The Class is readily definable and prosecution as a class action will eliminate

       8    the possibility ofduplicative litigation while also providing redress for claims that would otherwise

       9    be too small to support the expense ofindividual complex litigation. The disposition of the Class'

      10    claims in a class action rather than in individual actions would be superior to all other methods and

      11    will benefit the parties and the Court.

      12           75. Class-wide damages are essential to induce Defendants to comply with the state laws

      13    alleged in this Complaint.

      14           76. Plaintiff's claims are typical of those of the Class and predominate over any questions
      15    that may affect individual members. Among the questions of law and fact common to the Class,

      16    include but are not limited to the following:

      17           i.     whether Defendants' first party UM/UIM bodily injury/wrongful death releases

       18                  including all terms are enforceable;

      19                  whether Defendants violated California law, including but not limited to Insurance

      20                   Code Section 11580.2(h)and California Code Section 1670.8;

      21                   whether Progressive breached its first party duties owed to Plaintiffs,

      22                   and whether Uber aided and abetted Progressive to breach said duties;

      23           iv.     whether Uber interfered with contracts between Plaintiff and Progressive;

      24           v.      whether Defendants knew and/or recklessly disregarded the falsity or misleading

      25                   nature oftheir statements;

      26           vi.     whether Defendants have engaged in unfair methods ofcompetition,unconscionable

      27                   acts or practices, and unfair or deceptive acts or practices in connection with its

      28                   tactics to forever suppress and muzzle Plaintiff;


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        1           vfi,    whether, as a result ofDefendants' misconduct,Plaintiff has suffered damages,and

        2                   if so, the appropriate amount thereof;

        3           viii.   whether,as a result ofDefendants' misconduct,Plaintiffis entitled to equitable relief

       4                    and/or other relief, and if so, the nature of such relief;

       5            ix.     whether injunctive relief and declaratory relief is appropriate, including barring

       6                    Defendants from engaging in the wrongful practices set forth herein in the present

       7                    and in the future.

       8                                     FIRST CAUSE OF ACTION

       9                    (For Unlawful Private Gag Orders, Civil Code Section 1670.8)

       10                                        Against Uber and Does

       11          77. Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

       12          78. Defendants proposed a contract for the sale ofa ride share service that ultimately caused
      13    injuries to Plaintiff. When Plaintiff initiated claims for their injuries resulting from the ride share

      14 service, Defendants, upon mere notice ofthe claims, began insisting upon confidentiality and non-

      15    disparagement clauses,threatening Plaintiffthat their settlement would not be had without a release

      16 that waived Plaintiff's rights to make any statement regarding Uber, its ride share services, or its

      17 drivers.

      18           79. On January 1, 2015, it became unlawful in California to include non disparagement

      19 clauses in consumer contract agreements. The law, codified at Cal. Civ. Code section 1670.8

      20 specifically provides that a contract or proposed contract for the sale or lease ofconsumer goods or

      21    services may not include a provision waiving the consumer's right to make any statement regarding
      22 the seller or lessor or its employees or agents concerning the goods or services. It is also unlawful

      23 to threaten or to seek to enforce a provision made unlawful under section 1670.8 or to otherwise

      24 penalize a consumer for making any statement regarding the seller or its employees, agents, goods,

      25 or services. Further, any waiver ofthe provisions ofthis section is contrary to public policy, and is

      26 void and unenforceable.

      27           80. Section 1670.8(c) establishes a private right or action against any person who violates
      28    it.


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        I           81. Defendants' violations were willful and intentional. Defendants intentionally forced the

       2 release with non-disparagement provision despite knowing such provision expressly violated

       3    California law.

       4           82. Defendants willfully and intentionally threatened its non-disparagement provision and
       5    punished Plaintiff by refusing to provide them with UM/UIM benefits that they were otherwise

       6    lawfully entitled to for the injuries suffered as a result of Uber's ride share service, unless and

       7    until they agreed to sign a release containing provisions to silence Plaintiff.

       8           83. As a direct and foreseeable result ofDefendants' violations ofCivil Code Section 1670.8,

       9    Plaintiff was injured in that their UM/UIM settlement was delayed and payment thereof was

      10    withheld until Plaintiff was forced to agree to sign a release containing the unlawful non-

      11    disparagement clause. Plaintiff was further injured when their free-speech rights under the United

      12    States Constitution and the California Constitution were impinged, they were placed in fear of

      13    financial penalties and legal repercussion should they ever speak out.

      14           84. Accordingly, Plaintiff seeks a permanent injunction prohibiting Defendants and their

      15    affiliated and agents from proposing UM/UIM settlement releases that waive passenger

      16    claimants' rights to make any statement regarding Uber, its ride share services, or its drivers, as

      17    well as the civil penalties specified by section 1670.8(c)-(d).

      18                                  SECOND CAUSE OF ACTION

      19                   (Violations of Cal. Bus.& Prof. Code Section 17200 et seq.)
      20                                      Against Uber and Does

      21           85. Plaintiff incorporates by reference all paragraphs as if fully set forth herein.

      22          86. California's Unfair Competition Law ("UCL") as codified by California Business &

      23 Professions Code sections 17200,et seq.,protects both consumers and competitors by promoting fair

      24 competition in commercial markets for goods and services. California's UCL is interpreted broadly

      25 and provides a cause ofaction for any unlawful, unfair, or fraudulent business practice that causes

      26 injury to consumers falls within the scope of California's UCL.

      27 ///

      28 ///


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       1             87. Defendants' acts and practices constitute unlawful or unfair business practices against

       2 Plaintiff. It is unfair and unlawful for Defendants to threaten injured ride-share claimant consumers

       3   with penalty provisions and lawsuits merely for sharing their honest opinions about Uber's services.

       4            88. It is unfair and unlawful for Defendants to demand a release from Plaintiff containing
       5   confidentiality and non-disparagement contracts as a condition of receipt offirst party benefits for

       6   the injuries they suffered as a result of Uber's ride share services.

       7            89. It is unfair and dangerous that Californians have to decide whether to use Uber's ride
       8   share service without the benefit of reading the candid reviews of those willing to speak truth to

       9   power.

      10            90. Defendants perpetrated these acts and practices against Plaintiff and as a direct and
      11   proximate result ofthe foregoing, Plaintiff has suffered and continue to suffer damages in a sum to

      12   be proven at the time oftrial.

      13            91. Plaintifffurther seeks a permanent injunction prohibiting Defendants from penalizing or
      14   suing Plaintiff who exercised their right to make any disparaging statement regarding Uber's ride

      15   share services or its drivers.

      16                                      THIRD CAUSE OF ACTION

      17                                           (Breach of Contract)

      18                                     Against Progressive and Does

      19           92. Plaintiff incorporates by reference all paragraphs as if fully set forth herein.
      20           93.Plaintiffqualifies as an"insured" under the Progressive coverage forms'standard insured

      21   language.

      22           94. Defendants breached the terms of the contract by delaying settlement and withholding
      23   UM/ULM benefits due under the contract by forcing Plaintiffto submit to a release contingent upon

      24   non-disclosure and non-disparagement clause in order to have a settlement and for a payment to be

      25   made.

      26           95, As a direct, proximate, and legal result of the Defendants' breach(es) of the contract,

      27 Plaintiff has been and continues to be damaged, including but not limited to the loss of benefits

      28   under the contract, consequential damages including interest on monies Plaintiff could and should


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        1   have received promptly, but which they did not receive in a timely fashion as a result ofDefendants'

        2   breach of contract, and other fees, expenses, and costs to be proven at the time of trial.

        3                                     FOURTH CAUSE OF ACTION

       4                              (Breach ofImplied Covenant of Good Faith)
                                        and Fair Dealing (First Party Bad Faith))
        5

       6                                      Against Progressive and Does

       7           96. Plaintiff incorporates by reference all paragraphs as if fully set forth herein.
       8           97, The Progressive UIVI/U11v4 policy contained implied covenants of good faith and fair

       9    dealing, whereby Defendants each agreed to perform its obligations under the policy in good faith,

      10    to deal fairly with Plaintiff, and not to unreasonably deprive them of their rights.

       11          98.Defendants tortiously breached its implied covenant ofgood faith and fair dealing arising
       12 from the insurance contract by unreasonably withholding benefits due under the policy, by failing

      13    to treat Plaintiff and all others similarly situated consistently; by failing to honor a settlement

      14    without it being contingent upon a release containing non-disclosure and non-disparagement

       15   clauses; by causing delay in paying any benefits to Plaintiff; by failing to pay full policy benefits

      16    in a timely manner; by denying payment of full policy limits and/or undisputed sums; by

      17    intentionally misrepresenting that Plaintiff must sign a contingent release in order for a settlement

      18    to be had; and by intentionally violating California law.

      19           99. Despite Plaintiff's lawful entitlement to timely payment of the benefits pursuant to the

      20    policy, Defendants refused and failed to follow reasonable standards for prompt investigation and

      21    claim processing by insisting that Plaintiff agree in advance to forever keep quiet and to never say

      22    anything disparaging about Defendants until the end oftime.

      23            100. Defendants engaged in a course of conduct to further their own economic interests

      24    and in violation of its obligation to Plaintiff. Defendants' conduct described herein constitutes

      25    part of Defendants' overall scheme to profit from writing Uber's premiums and to shield

      26    themselves and Uber from liability and conceal business dealings from the public by coercing

      27    Plaintiff to sign away their rights to receive even a single dollar for their legitimate injuries. This

      28    conduct includes, but is not limited to the conduct alleged herein and the following:


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       1           a.     Misrepresenting relevant facts or insurance policy provisions relating to UM/UIM

       2                  coverage;

       3           b.     Not attempting in good faith to effectuate a prompt,fair, and equitable settlement of

       4                  Plaintiffs claims when the amount of loss was reasonably clear;

       5          c.       Unreasonably refusing to pay insurance benefits which a reasonable person would

       6                  have believed Plaintiff was entitled to receive;

       7          d.      Unreasonably delaying/withholding payments to Plaintiff in bad faith knowing

       8                  Plaintiff's claims for benefits under the policy to be valid by improperly

       9                  conditioning the ultimate settlement and payment thereof upon a signed release

      10                  containing confidentiality and non-disparagement clauses, and a complete waiver

      11                  of rights, and further threatening that their settlement would not be had without the

      12                  same, all in violation of California law;

      13          e.      Wrongfully, knowingly, unlawfully, and unilaterally assigning a portion (at least

      14                  $100) of the settlement amount as "separate and specific consideration" for the

      15                  confidentiality and non-disparagement provisions to make it seem as if the

      16                  unlawful provisions were bargained for and that the agreement and release were

      17                  entered into by Plaintiff freely and voluntarily, while at the same time wrongly

      18                  exposing Plaintiff to financial tax consequences.

      19           101.Defendants'conduct described herein constitutes Defendants'overall fmancial scheme

      20   to protect Defendants and Uber from liability and negative publicity by silencing Plaintiff as well

      21   as improperly including a section 1542 waiver. Without any reasonable basis for doing so, and with

      22 full knowledge and/or conscious disregard ofthe consequences,Defendants have,in bad faith failed

      23   and refused to perform its obligations under the insurance policies and the laws of California.

      24          102. As a direct, proximate, and legal result of these breaches of the covenant of good

      25   faith and fair dealing by Defendants, Plaintiff believed that they had no other choice but to

      26   consent to Defendants' unlawful terms.

      27          103. As a direct, proximate,and legal result ofDefendants' wrongful conduct,Plaintiff has

      28   and continuesto be damaged in an amount including but not limited to, loss ofpolicy benefits under


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                                              CLASS ACTION COMPLAINT
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        1   the contract, consequential damages including interest on monies Plaintiff could and should have

        2 received promptly, but which they did not receive in a timely fashion as a result of Defendants'

        3   breach of contract, and other fees, expenses, and costs to be proven at the time of trial.

       4            104. As a direct, proximate and legal result ofthe wrongful conduct ofDefendants,Plaintiff

        5   suffered other economic and non-economic damages, in amounts to be proven at the time oftrial.

       6             105. On the basis of all of the facts alleged above, Defendants' conduct and actions were

       7    despicable, and were done maliciously, oppressively and with a willful and conscious disregard of

       8    Plaintiff's rights, thereby subjecting Plaintiff to undue hardship and distress, entitling Plaintiff to

       9    punitive damages under California Civil Code Section 3294. Defendants' officers, directors, and

       10   managing agents were personally involved in the decision making process with respect to the

       11   conduct alleged herein and/or ratified such misconduct.

       12                                     FIFTH CAUSE OF ACTION

       13                                    (Interference with Contract)

       14                                       Against Uber and Does

       15           106. Plaintiff incorporates by reference all paragraphs as iffully set forth herein.

       16           107. Progressive has at all relevant times owed contractual duties to Plaintiff.

       17           108. Uber at all relevant times knew that Progressive owed contractual duties duties

       18   to Plaintiff.
       19           109.Despite such knowledge,Defendants'and each ofthem,at all relevant times knowingly,

      20 willfully, and intentionally induced, encouraged, aided, abetted, and facilitated Progressive to

      21 breach its         contractual duties to Plaintiff by, among other things, engaging in the unjustified
      22 conduct described above, including, without limitation, inducing Defendants to violate California

      23 Insurance Code Section 11580.2(h) by demanding that Plaintiff sign a release; to violate

      24 California Code Section 1670.8 by demanding confidentiality and non-disparagement clauses; to

      25 purposefully delay and/or withhold benefits from Plaintiff until they agreed to non-disparagement and

      26 confidentiality; to make settlement agreement and releases contingent on confidentiality; to force Plaintiff

      27 into waiving the legal protections under California Civil Code Section 1542; to threaten penalties by way

      28 ofliquidated damages; to assign a portion of the settlement amount to confidentiality; to threaten attorneys'


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                                                 CLASS ACTION COMPLAINT
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        1   fees and costs if Defendants had to counter-sue for any breach of confidentiality by Plaintiff,

       2 all to the their detriment and in violation of California law.

       3             1 10. Defendants, and each of them, at all relevant times, conspired with each other to
       4 knowingly, willfully, and intentionally induce, encourage, aid, abet, and facilitate Progressive to

       5    breach its contractual duties and obligations to Plaintiff by amongst other acts, engaging in the

       6    unjustified and unlawful conduct described above.

       7            I ll. Defendants'purpose in taking the actions described above was to intentionally harm the
       8    interests of Plaintiff and forcefully and unlawfully obtain their silence and commitment to not tell

       9 the truth about Defendants'ride-share services in order to mitigate its losses and maintain a positive

       10   public image, all to the detriment ofPlaintiff and in violation of California law.

      11            1 12. Progressive had and continues to have an economic relationship with Uber which was
      12 and is substantially likely to result in future economic benefit to them should they act in concert with

      13    Uber to forever silence ride share injured claimants to protect Uber's image and market share.

      14            1 13.As a result of the actions of Defendants, Progressive did in fact breach its contractual
      15    duties to Plaintiff.

      16            1 14.Plaintiff has been damaged as a direct, proximate and legal result of Defendants'

      17    wrongful conduct in an amount to be determined at the time oftrial.

      18            1 15.0n the basis of all of the facts alleged above, Defendants' conduct and actions were
      19    despicable, and each of them acted with malice, oppression, fraud, an intent to injure, and with a

      20    willful and conscious disregard ofPlaintiff's rights, thereby subjecting Plaintiff to undue hardship
      21    and distress, entitling Plaintiff to punitive damages under California Civil Code Section 3294.

      22 Defendants' officers, directors, and managing agents were personally involved in the decision
      23    making process with respect to the conduct alleged herein and/or ratified such misconduct.

      24                                    SIXTH CAUSE OF ACTION

      25                  (Aiding and Abetting a Breach of Implied Covenant of Good Faith
                                        and Fair Dealing(Bad Faith))
      26

      27                                       Against Uber and Does

      28                 Plaintiff incorporates by reference all paragraphs as if fully set forth herein.


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       1           116. Progressive has at all relevanttimes owed first-party duties ofgood faith and fair dealing

       2   to Plaintiff.

       3            1 17.Uber has at all relevant times, known that Progressive owed special first-party duties

       4   to Plaintiff.

       5            118.Despite such knowledge, Uber actively induced, encouraged, interfered, impaired,

       6   aided, abetted, and facilitated Progressive to breach its contractual and special first-party duties to

       7   Plaintiff by, among other things, engaging in the unjustified conduct described above, including,

       8   without limitation,inducing Defendants to violate California Insurance Code Section 11580.2(h)by

       9   demanding that Plaintiff sign a release; to violate California Code Section 1670.8 by demanding

      10   confidentiality and non-disparagement clauses; to purposefully delay and/or withhold benefits from

      11   Plaintiff until they agreed to non-disparagement and confidentiality; to make settlement agreement

      12   and releases contingent on confidentiality; to force Plaintiff into waiving the legal protections

      13   under California Civil Code Section 1542; to assign a portion of the settlement amount to

      14   confidentiality; to threaten attorneys' fees and costs if Defendants had to counter-sue for any

      15   breach of confidentiality by Plaintiff all to the their detriment and in violation of California law.

      16           1 19. Defendants, and each of them, at all relevant times, conspired with each other to

      17   knowingly, willfully, and intentionally induce, encourage, aid, abet, and facilitate Progressive to

      18 breach its contractual duties and special obligations to Plaintiff by amongst other acts, engaging in

      19 the unjustified and unlawful conduct described above.

      20           120. Defendants'purpose in taking the actions described above was to intentionally harm the

      21   interests of Plaintiff and forcefully and unlawfully obtain their silence and commitment to not tell

      22   the truth about Defendants' ride-share services in order to mitigate its losses and maintain a positive

      23   public image, all to the detriment ofPlaintiff and in violation of California law.

      24           121.Progressive had and continues to have an economic relationship with Uber which was

      25   and is substantially likely to result in future economic benefit to them should they act in concert with

      26 Uber to forever silence ride share injured claimants to protect LTber's image and market share.

      27

      28


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       1           122. As a result ofthe actions ofDefendants,Progressive did in fact breach their special first-
       2 party duties to Plaintiff.

       3           123.Plaintiff has been damaged as a direct, proximate and legal result of Defendants'

       4   wrongful conduct in an amount to be determined at the time oftrial.

       5            124.0n the basis of all of the facts alleged above, Defendants' conduct and actions were

       6   despicable, and each ofthem acted with malice, oppression, fraud, an intent to injure, and with a

       7   willful and conscious disregard ofPlaintiff's rights, thereby subjecting Plaintiff to undue hardship

       8   and distress, entitling Plaintiff to punitive damages under California Civil Code Section 3294.
       9 Defendants' officers, directors, and managing agents were personally involved in the decision

      10   making process with respect to the conduct alleged herein and/or ratified such misconduct.

      11                                  SEVENTH CAUSE OF ACTION

      12                                   (Intentional Misrepresentation)

      13                                        Against All Defendants

      14            125.Plaintiff incorporates by reference all paragraphs as if fully set forth herein.
      15            126.Defendants acting under the direction and on behalf of Uber made intentional
      16 representations as set forth herein to Plaintiff.
      17            127.Defendants coerced Plaintiffinto signing a release by representing that any settlement

      18   offers and payments made to them under the Progressive policy had to be expressly contingent upon

      19   signing a release that included confidentiality and non-disparagement agreements.Defendants knew

      20 that by repeatedly threatening to withhold Plaintiff's settlement, Plaintiff who was vulnerable and

      21   wanting to be compensated for their injuries would believe there was no reasonable alternative but

      22 to consent to Defendants terms.

      23             128. Defendants assertions and representations of facts were not true, Defendants knew

      24   that the assertions and representations were not true, but Defendants made such representations

      25   anyway - recklessly and without any regard for the truth.

      26            129.Defendants intentionally suppressed from Plaintiff the true representation that in fact

      27 they did not have to sign any release in accordance with California law,and that its representations

      28 ///


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                                              CLASS ACTION COMPLAINT
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       1   that Plaintiffhad to sign a release containing confidentiality and non-disparagement clauses in order

       2 for a settlement to be had and monies to be paid under the UM/UIM coverage were false.

       3          130. Defendants'acts,representations,and communications with Plaintiffas identified above

       4   were knowingly false and made with the intent that Plaintiff would rely on Defendants false

       5   representations. Defendants knew that the releases would mitigate their expensive pay outs by

       6   silencing Plaintiff from ever talking about the incident, the settlement, or the ride-share

       7 services/employees,thereby shielding any negative reviews about Uber from the public, ultimately

       8   protecting its stock price and profits.

       9           131. Plaintiff relied on the false representations and assertions. This reliance upon

      10 Defendants' misrepresentations was justified because ofthe manner in which Defendants made the
      11   representations which included but was not limited to the following conduct: Defendants would

      12 send multiple communications including the settlement offer in writing and expressly state in no

      13   uncertain terms that per Defendants, and each of them, in order to have a settlement, the release

      14   containing the non-disclosure and non-disparagement clauses must be signed. Defendants further

      15   purposefully delayed and withheld benefits it owed to first-party Plaintiff through the Progressive

      16   UM/UIM policy until they complied with Uber's terms.

      17           132. Plaintiffbelieved and relied upon Defendants'representations,assertions,and conduct

      18   that ifthey did not sign, there would not be any settlement and they would not be compensated for
      19 the injuries they suffered from Uber's ride-share services.

      20                 Plaintiff has been damaged as a direct, proximate and legal result ofDefendants'

      21   wrongful conduct in an amount to be determined at the time oftrial.

      22          133.In committing the above intentional misrepresentations, Defendants and each ofthem

      23   acted with malice, oppression, fraud, and conscious disregard ofPlaintiff's rights, entitling them

      24   to punitive damages under California Civil Code Section 3294.

      25          134. Defendants' officers, directors, and managing agents were personally involved in the
      26   decision making process with respect to the conduct alleged herein and/or ratified such

      27   misconduct.

      28   ///


                                                        - 25 -
                                               CLASS ACTION COMPLAINT
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       1                                          PRAYER FOR RELIEF

       2             WHEREFORE,Plaintiff,individually,on behalfofthe Class and on behalfofthe public pray

       3 for judgment against Defendants as follows:

       4         1.That the Court determine that the claims brought by the Class may be maintained as a class

       5   action;

       6             2.Thatthe Court adjudge and decree that Defendants'confidentiality and non-disparagement

       7 clauses violates 1670.8 of the Civil Code and the Unfair Competition Law,section 17200, et seq.

       8   ofthe Business and Professions Code;

       9             3.That Defendants and all other persons acting or claiming to act on their behalfor in concert

      10   with them,be permanently enjoined and restrained from in any manner continuing to propose,insist,
      11   or use any settlement release to waive Uber ride-share service consumers'rights to make any truthful

      12 and otherwise lawful statement regarding Defendants and their employees, agents, goods and
      13   services;

      14             4. That the Court make such orders orjudgments as may be necessary to prevent the use by

      15   any Defendant of any act and practice alleged herein that constitutes unfair competition under the

      16   authority ofthe Business and Professions Code section 17200 et seq.

      17             5. That the Court award each Plaintiff and Class member to whom any Defendant proposed

      18 (whether directly, indirectly, or vicariously)an illegal gag order,two thousand five hundred dollars

      19 ($2,500) against that Defendant for the first time that Defendant made such a proposal to all
      20 Plaintiffs, pursuant to Civil Code section 1670.8(c);
      21             6.That the Court award each Plaintiff and Class member to whom any Defendant proposed

      22 (whether directly, indirectly, or vicariously) an illegal gag order five thousand dollars ($5,000)
      23   against that Defendantfor the second and each subsequenttime that Defendant made such a proposal

      24   to all Plaintiffs, pursuant to Civil Code section 1670.8(c);

      25             7. That, additionally, the Court award each Plaintiff and Class member to whom any

      26   Defendant wilfully, intentionally, or recklessly proposed,(whether directly, indirectly, or vicariously) an

      27   illegal gag order ten thousand dollars ($10,000) against each Defendant for each time that

      28   Defendant made such a proposal to all Plaintiffs, pursuant to Civil Code section 1670.8(d);


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       I             8. That paragraphs ofreleases referencing non-disclosure, confidentiality, consideration for

       2   confidentiality, release of all claims, 1542 waivers, non-disparagement, and penalty provision of

       3   each Plaintiff and Class member's Settlement Contract and Release be stricken as if it never existed;

       4           9. That Defendants, and each of them, are permanently enjoined and ordered to tender

       5   promptly undisputed amounts, even while additional sums remain disputed when handling claims

       6   of individuals who have meritorious bodily injury/wrongful death first party UMATIIVI motorist

       7   claims;

       8             10. That Defendants, and each them, are permanently enjoined and ordered to never again

       9   insist that a first party UM/UIM bodily injury/wrongful death claimant agree to confidentiality and

      10   non-disparagement as a condition of settlement and payment thereof for injuries resulting from

      11   Uber's ride share service;

      12             1 1. That Defendants, and each them, are enjoined permanently and ordered to never again

      13   request a first party UM/Ullvl bodily injury/wrongful death claimant injured by Uber's ride share

      14   services to agree to a release or to any general waiver as a term of receiving any available benefit

      15   under the UM/UIM motorist endorsement or coverage;

      16           12. That Plaintiffbe awarded pre and postjudgment interest,and that the interest be awarded

      17   at the highest legal rate from and after the date of service of the initial Complaint in this action;

      18           13. That Plaintiff be awarded punitive or exemplary damages according to proof;

      19           14. That costs of this suit and reasonable attorneys' fees are awarded; and

      20           15. That the Court grant other legal and equitable reliefas it may deemjust and proper under

      21   the circumstances, including such other relief as the Court may deem warranted to redress the

      22   recurrence of the suppressive effects of Defendants' conduct including its gag orders.

      23   ///

      24 ///

      25   ///

      26 / / /

      27 / / /

      28   / //


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                                                CLASS ACTION COMPLAINT
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       1                                   JURY TRIAL DEMANDED

                   Plaintiffhereby demands trial byjury for all causes °faction,claims,or issues in this action
      3     which are ttiable as..a matter ofright to ajury.
       4

       5                                           Respectfully submitted,


            Dated: July.12,2022                   LAW OFFICE$ Q              . OMAS LEARY,APC
       7


       9                                                  omas A. Leary,Esq.
                                                         ttorneys for Plaintiffand the Class
      10
      11
      12 Dated: July 12,2022                       HAIVIPARYAN PERSONAL,INJUItY
                                                             AN DIEGO,APC
      13

       4.
                                                  .By;
      15                                             Ro    Hamparyan,:Esq.
                                                     Aida Van Ilarlc, Esq,
      16                                             Attorneys for Plaintiffand the Class

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   PROGRESSIVE CLAIMS
   747 ALPHA DRIVE
   HIGHLAND HTS, OH 44143
                                                                                                        PROWESS/1'F
                                                                                                   Underwritten By:
                                                                                                   Blue Hill Specialty Insurance
                                                                                                   Company
                                                                                                       Claim Number:                 Dr
                                                                                                       Loss Date:
                                                                                                       Document Date:                   2020
                                                                                                       Page 1 of 1

                                                                                                   claims.progressive.com
                                                                                                       Track the status and details of your claim,
                                                                                                       e-mail your representative or report a
                                                                                                       new daim.

                 Acknowledgement of Representation
                 We received your letter of representation for                  e will be forwarding all future communication regarding
                 your clients claim directly to you.
                 In order to properly evaluate your clients claim, please forward to us copies of supporting documentation as you receive it.
                 When we reach a settlement agreement,the required release will include non-disclosure and non-disparagement
                 language. This release will need to be executed by both the attorney and client(s) with a notary seal.
                 If you have any questions, please contact us.
                       '
                 Claims Department

                 1-800-PROGRESSIVE(1-800-776-4737)
                 Fax: 1-844-268-4718

                 Enclosures
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                                                                                                  PROGREIRYF
                                                                                             Underwritten By:
                                                                                             Blue Hill Specialty Insurance
                                                                                             Company
                                                                                                Claim Number.
                                                                                                Loss Date:
                                                                                                Document Date:             2020
                                                                                                Page 1 of 1

                                                                                             claims.progressive.com
                                                                                                 Track the status and details of your claim,
                                                                                                 e-mail your representative or report a
                                                                                                 new claim.

             Claim Information
               WE DO NOT ACCEPT DEMAND PACKAGE OR TIME SENSMVE MATERIALS VIA EMAIL — THEY MUST EITHER BE MAILED
             OR FAXED*"

             We wish to acknowledge receipt of the information/documentation which you have provided in reference to the above
            captioned claim fo                  In our effort to investigate and evaluate this claim, we will need additional time to
            make a final determination. In our effort to investigate and evaluate this claim, we will need additional time to make a
            final determination. Please note the reason(s)listed for additional time:
            You have not yet provided the complete demand package, which includes medical documentation.
            A determination on your claim cannot be made until we receive the full and complete medical documentation to evaluate
            your daim. I will be in contact with you to advise you of the progress of our investigation.

               LEASE NOTE THAIONCE-WE-1-1 E REACHED A SETTLEMENT AGREEMENT,THCffQUIRED.RELEASE WILL INCLUDE
            NON-DISCLOSURE AND NON-DISPARAGEMENT LANGUAGE.THIS RELEASE WILL NEED TO BE EXECUTED BY BOTH THE
            ATTORNEY AND CLIENT(S)WITH A NOTARY STAMP NEEDED.PLEASE CONTACT ME WITH ANY CONCERNS BEFORE
            SETTLEMENT,TO AVOID DELAY IN RELEASE OF FUNDS. **



            Claims Department

            1-800-PROGRESSIVE (1-800-776-4737)
            Fax: 1-844-268-4718
            Foirn Z587 XX (01/08)CA
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                                                                                                 Mite 1-1!11 Specialw Insurance
                                                                                                 Company
                                                                                                    Claim Number
                                                                                                    Loss Date:
                                                                                                    Document Date:
                                                                                                    Page 1 of 1

                                                                                                 claims.progressfve.com
                                                                                                     Traci;the status and Mails of your claim,
                                                                                                     e-mpil your represenge or reporta
                                                                                                      new claim.


             I mportant information about your claim
             Thank you for discussing                     ,aim on
             We   would  like to confirm our offer of $,         for settlement of                .Uninsured.Motorist claim.
                As this policy is maintained  by Uber,  our release will include a non-disclosure and non-disparagementclause that will
             need to be signed off WITH a notary by the client as well as the attorney in order for us to have a settlement.
             Please extend this offer to your client as.soon as possible so we can take the next step to resolve this claim.
             If you have any questions, please contact us.




             Enclosure
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  PROGRESSIVE CLAIMS
  747 ALPHA DRIVE                                                                                         PRI.7617EffiVE*
  HIGHLAND HEIGHTS, OH 44143


                                                                                                     Underwritten By:
                                                                                                     Blue Hill Specialty Insurance
                                                                                                     Company
                                                                                                        Claim Number:
                                                                                                        Loss Date:
                                                                                                        Document Dateingli 2021
                                                                                                        Page 1 of 1

                                                                                                     claims.progressive.com
                                                                                                         Track the status and details of your claim,
                                                                                                         e-mail your representative or report a
                                                                                                         new claim.

                 Important information about your claim
                 Thank you for discussing                     claim on
                 We would    like to confirm our offer of $           for settlement of                   Uninsured Motorist claim.
                    As this policy is maintained by  Uber,  our  release will include a non-disclosure and   non-disparagement clause that will
                 need to be signed off WITH    a  notary  by the client as well as the attorney in order for us to have a settlement.
                 Please extend this offer to your dient   as soon  as possible  so we  can take the next step to resolve this claim.
                 If you have any questions, please contact us.


                 Claims Department

                 1-800-PROGRESSIVE (1-800-776-4737)
                 Fax: 1-844-268-4718
                 Endosure
                 Form Z453.01 XX(01/08) CA
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               cONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAMS

       This CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAWS "Release"
       is made effective as ofthe                  day of             , MEN, by                        and
       trusts, heirs; assigns, beneficiaries, insurers and s       es ("Releasor") in favor of James River
       Insurance Company("UB/Insurer"),                             and Rasier, LLC,Rasier- CA,LW,Uber
       Technologies,Inc., as well as all oftheir respective past, present or future administrators,affiliates,
       agents, assocrates, associations., assigns, attorneys, beneficiaries, corporations, directors,divisions,
       employees, executors,firms, grantees, heirs, independent contactors,insurers and reinsurers,joint
       venturers, managers, members, officers, parents, partners, partnerships, predecessors,
       representatives, servants, shareholders, successors, subsidiaries, transferees, trustees, vendees,
       legal and equitable owners and all persons and legal entities acting by,through,under,orin concert
       with them; and all persons and legal entities who could suffer or sustain liability by, through, or
       under any of them, collectively referred to as the "Released Parties". Releaser and the Released
       Parties are sometimes referred to herein singly as a "Party" and collectively as the "Parties."

                                                     RECITALS

               WHERE , On or abou                              Releasor and athird party atfault,identified
        as                  ("At-Fault Third Party") were involved in an automobile accident in which
        Re easor alleges that the At-Fault Third Party was responsible for certain bodily injuries allegedly
        suffered by Releasor(referred to herein as the "Accident");

                WHEREAS, Releasor alleges that At-Fault Third Party is responsible for damages
        including butnot limited to bodily injuries, Releasor's loss ofincome, pain and suffering, general
        damages,and other consequential damages arising out ofthe Accident(the"Claim"),and has made
        such Claim for damages from At-Fault Third Party's automobile liability insurance carrier("At-
        Fault Insurer"). Releasor warrants and represents that the At-Fault Insurer settled Releasor's
        Claim in exchange for payment ofthe policy limit ofsena

               WHEREAS,Releasor has submitted the Claim to Ulf Insurer for payment ofthe "bodily
        injury" damage under the Underinsured Motori     dily Injury Coverage available to Releaser
        under Business Auto Policy No.                   ("UIIVI Coverage") (hereinafter the "Ul114
        Claim") as well as Releaser's own personal UM Coverage through the Interinsurance Exchange
        ofthe Automobile Club ofSouthern California("AAA");

                NOW THEREFORE,in consideration ofthe mutual promises and covenants contained
        herein and other good and valuable consideration,the sufficiency ofwhich is hereby acknowledged
        by Releasor, the Releaser agrees as follows:




                             CONFIDENTIAL AGREEMENT AND GENERAL •RELEASE OF ALL CLAIMS
                                              Claim Number:
                                                     Page 1 of9
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                                         TERMS AND CONDMONS

               Section 1: Settlement Amount. Following the full execution of this Release and all other
       requested settlement documentation including but not limited to W9 tax forms, Medicare
       authorizations, Medicaid authorizations or medical lien information, as applicable, UIM Insurer
       shall pay the sum of                            ("Settlement Funds") to Releasor via check or
       wire transfer made payable to                                                  "




               Section 2: Release of All Claims. Effective upon UIM Insurer's performance of its
       obligations as referenced in Section 1 above,for and in consideration ofthis Release, the terms
       and sufficiency of which are hereby agreed to and acknowledged by the Parties, Releasor, on
       behalf of Releasor, Releasor's heirs, beneficiaries, executors, administrators, predecessors,
       successors, insurers, agents, servants, representatives, employees and all other persons,firms or
       corporations with any legal orequitable interestin any vehicle orother personal property for which
       damages are being alleged as partofthe Claim,hereby release and forever discharge James River
       Insurance Company,                       ,Rasier, LLC,Rasier-CA, LLC,Uber Technologies, Inc.
       and their respective past, present or future administrators, affiliates, agents, associates,
       associations, assigns, attorneys, beneficiaries, corporations, directors, divisions, employees,
       executors, firms, grantees, heirs, independent contractors,insurers and reinsurers,joint venturers,
       managers, members, officers, parents, partners, partnerships, predecessors, iepresentatives,
       servants, shareholders, successors, subsidiaries,transferees,trustees, vendees,legal and equitable
       owners and all persons and legal entities acting by,through, under, or in concert with them;and
       all persons and legal entities who could suffer or sustain liability by,through,or under any ofthem,
       from any and all claims, liens, demands, damages,actions, causes of action or suits ofany kind or
       nature whatsoever, both known and unknown, now existing or which may arise in the future,
       including claims for bodily injuries, property damage, loss of income, loss of use of personal
       property, loss of rents, attorneys' fees, costs, consequential damages of any nature or any other
       claim's or causes of action arising out of the Accident,the Claim or the UIM Claim. Specifically
       included in this Release are any and all claims which Releasor may discover after the execution
       ofthis Release which arise out ofthe Accident.

               Section 3: Non-Admission ofLiability. The Parties understand and represent that reliance
       is placed wholly upon their own judgment, belief and knowledge as to the nature, extent and
       duration of any injuries and damages alleged in this case; that no statements with regard thereto
       made by or on behalf of any ofthe Parties hereby released have,in any way,influenced the Parties
       entering this Release;that the foregoing payments are received in settlement and compromise
       over a disputed claim and do not constitute an admission of any liability whatsoever by any of
       the Parties hereby released;and the terms hereofare contactual and not mere recitals.

              Section 4: Medicare and Other Governmental Entities. By signing this Release,
       Releasor affirms/acknowledges the following to be true:


                           CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
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               a      Releaser has not received any Medicare payments of any kind arising out of the
                      injuries or damages claimed in the aforementioned Claim or released by this
                      Release and there have been no Medicare conditional payments made on behalf
                      of Releaser arising out of the Accident or related to the claims asserted in
                      connection with it;

               b.     Releaser has not applied for or received Social Security Disability Benefits within
                      the last 24 months;

                      Releaser has not been denied Social Security benefits with anticipation of
                      appealing thatdecision;

               d.     Releaser is not in the process of appealing and/or re-filing for Social Security
                      Disability benefits;

                      Releasor is not intending to apply for Medicare or Social Security Disability
                      benefits;

             'f       Releaser does not have a current diagnosis ofEnd-Stage Renal Disease.

       The Parties have considered Medicare's interests in this case. It is not the intention of theReleased
       Parties to shift the responsibility for paying past and/or future medical expenses related to
       Releaser's injuries to Medicare. Based upon the representations of Releaser as contained above,
       Releaser and Releaser's attorneys confirm that they concur with the Released Parties that the
       circumstances do not require the use ofa Medicare set-aside in the settlement ofReleaser'sclaims.
       Should it laterbe determined that Releaser was,in fact,eitherreceiving or entitled to receive Social
       Security Disability and/or Medicare benefits at the time that this Release is executed, Releaser
       agrees to reimburse the Released Parties and/or their attorneys and/or Medicare for any valid claim
       or lien asserted by Medicare, and will indemnify, defend, and hold the Released Parties and/or
       their attorneys harmless from any such claims, including payment of any interest, costs or
       attorneys'fees incurred by the Released Parties in connection with such claims or liens.

       The Parties have also considered the interests of other governmental entities in resolving this
       matter. It is not the intention of the Released Parties to shift the responsibility for paying any
       allegedly related expenses upon any governmental entity (including but not limited to: Social
       Security, a state's Medicaid program or variation thereof, and/or any federal or state disability
       program). Should it later be determined that Releaser was, in fact, either receiving or entitled to
       receive such benefits at the time that this release is executed, Releaser agrees to reimburse the
       Released Parties and/or their attorneys and/or the claiming governmental agency for any valid
       claim or lien asserted by said governmental agency, and will indemnify, defend and hold the
       Released Parties and/or their attorneys harmlessfor any such claims, including the paymentofany

                            CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
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       interest, costs or attorneys' fees incurred by the Released Parties in connection with suchclaims
       or liens.

       Releasor acknowledges and understands that any present or future action or decision by CMS,
       Medicare, Medicaid,any federal or state disability program, and/or any other governmental entity
       on this settlement, or any of the Releasor's eligibility or entitlement to Medicare or Medicare
       payments, will not render this Release void or ineffective, or in any way affect the finality ofthis
       settlement.

            Section 5: Complete Compromise. RELEASOR ACKNOWLEDGES THAT
       RELEASOR HAS BEEN ADVISED IN WRITING THAT THE SCOPE OF THIS RELEASE
       INCLUDES ALL KNOWN AND UNKNOWN CLAIMS, PAST, PRESENT AND FUTURE,
       ARISING OUT OF THE ACCIDENT, INCLUDING THOSE CLAIMS THAT RELEASOR
       COULD NOT WITH REASONABLE DILIGENCE HAVE DISCOVERED PRIOR TO THE
       EXECUTION OF THIS RELEASE. RELEASOR UNDERSTANDS THAT EVEN IF HE
       SUFFERS FUTURE LOSSES, DAMAGES, DISABILITY, SUFFERING OR THE RESULT
       THEREOF, OR IN THE EVENT UNEXPECTED COMPLICATIONS ARISE, HE MAY
       NEVER MAKE ANY CLAIM FOR MORE MONEY FROM THE RELEASED PARTIES, OR
       ANY AFFILIATED COMPANY, IN CONNECTION WITH THE INCIDENT. RELEASOR
       FURTHER AGREES THAT HE HAS ACCEPTED PAYMENT OF THE SUMS SPECIFIED
       HEREIN AS A COMPLETE COMPROMISE OF MATTERS INVOLVING DISPUTED ISSUES
       OF LAW AND FACT AND THAT RELEASOR ASSUMES THE RISK THAT THE FACTS OR
       LAW MAY BE OTHER THAN HE BELIEVES.

               Section 6: Voluntary Agreement. In entering into this Release,the Parties represent that
       they have had the opportunity to consult with their own legal counsel and are encouraged to have
       said counsel review this Release and advise the Parties concerning the legal consequences ofthis
       Release; that the terms ofthis Release have been completely read and explained to the Parties by
       their attorney; and that the terms of this Release are fully understood and voluntarily accepted by
       the Parties.

               Section 7: Finality. Releasor agrees that upon the Release set forth herein becoming
       effective, it will forever refrain and forebear from commencing, instituting or prosecuting any
       lawsuit, action or other proceeding against the Released Parties based on, arising out of, or in
       connection with any claim, debt, liability, claim, obligation, cost, expense, action, or cause of
       action that is released and discharged by reason ofthis Release.

              Section 8: Attorneys' Fees and Indemnity. Each of the Parties shall bear its own costs
       and attorneys' fees in connection with the Claim and in connection with. this Release. Releasor
       warrants and represents that they are wholly responsible for the payment of any attorneys' fees
       and costs associated with the Claim. Releasor agrees to defend and indemnify the Released Parties
       against any such claim for attorneys' fees and costs in the event that Releasor fails to pay such
       attorneys' fees and costs. Releasor also warrants and represents that the Release set forth above
                           CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
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       includes any subrogation rights ofReleasor's insurer,if any,and to the extent that said insurermay
       have an interest in the proceeds of any settlement of the Claim, Releasor agrees to defend and
       indemnify the Released Parties against any such claim.

               Section 9: Further Assurances and Cooperation. All Parties to this Release agree to
       cooperatefully and execute any and allsupplementary documents and to take all additional actions
       which may be necessary or appropriate to give fullforce and effect to the basic terms and intent of
       this Release.

               Section 10: Binding Agreement. This Release shall be binding upon and inure to the
       benefit of the Parties as well as their heirs, owners, officers, directors, partners, executors,
       administrators,successors, agents,servants,representatives,employees and all otherpersons,firms
       or corporations with whom any of the former have been, are now or may hereafter be affiliated.
       This Release represents the entire agreement between the Parties with respect to the subject matter
       hereofand supersedes all prior and contemporaneous oral and written agreements and discussions.
       Releasor covenants that,they have not entered into this Release as a result of any representation,
       agreement, inducement or coercion, except to the extent specifically provided herein. Releasor
       further covenants that the consideration recited herein is the only consideration for entering into
       this Release, and that no promises or representations of other or further consideration have been
       made by any person. Releasor further represents and covenants that in executing this Release,
       Releasor does so with knowledge of any and all rights which they may have with respect to the
       provisions of this Release; that they have carefully read and considered this Release and fully
       understands its contents and the significance ofits contents; that they are entering into this Release
       oftheir own informed and free will and based upon their ownjudgmentand that they have obtained
       independent legal advice with respect to this Release. This Release may be amended only by an
       agreement in writing and duly executed by all Parties hereto.

               Section 11: Legal Capacity. The undersigned represent and warrant that they have the
       right, power, legal capacity and authority to enter into and perform the obligations under this
       Release on behalfofthe Party they represent,and that no further approval or consent ofany person
       or entity is necessary to enter into and perform such obligations.

               Section 12: Entire Agreement. This Release is meant to express the full intent of the
       Parties and to supersede all prior agreements, whether written or oral, with respect to the subject
       matter hereof. This Release may only be modified by the Parties in a writing signed by all ofthe
       Parties. The Parties agree to execute any and all further documents which may reasonably be
       necessary to carry out the terms and conditions ofthis Release.

              Section 13: Assignment: The undersigned hereby represent and warrant that they have
       not heretofore assigned or transferred or purported to assign or transfer any claim,demand,action,
       cause of action or right herein released or discharged.



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               Section 14: Severability: Each and every provision of this Release is separate and distinct
       from any and all other provisions of this Release. Should any provision or provisions of this
       Release be, for any reason, unenforceable, the remaining provisions shall nOnetheless be offull
       force and effect. Any provision found or deemed invalid or unenforceable shall only be so to the
       extent and scope required bylaw.

              Section 15: One Thousand and 00/100 Dollars ($1,000.00) of the Settlement Funds as
       outlined in Section 1 above is intended and accepted as separate and specific consideration forthe
       following:

              15(a) Confidentiality. Releasor and Releasor's counsel agree to strict confidentiality
              regarding Confidential Information. As used herein, Confidential Information means:(1)
              this Release and all of its terms, (2) the settlement amount, any prior offers, and
              negotiations leading up to this Release,(3)the identity oftheParties:to this Release,and/or
             (4) any facts giving rise to this Release that could identify any Released Party
             ("Confidential Information"). With respect to Confidential Information, Releasor and
              Releasor's attorneys, at the direction of Releasor which is expressly given by Releasor to
              Releasor's attorneys upon execution ofthis Release, agree not to publish, disclose, seek
              publicity, advertise, or allow access to any Confidential Information including but not
              limited to using and/or communicating on, with and/or to (a) social/digital media; (b)
              traditional media (print, television, radio, press conferences or public statements); (b)
              owners of taxi or livery service companies and organizations that represent their interests;
              and/or (d) the intemet. Nothing in this Release is intended to or does restrict or limit
              cooperation with or provision of information to any federal, state or local government
              agency. Should any ofthe Parties to this Release receive an inquiry regarding the settlement
              or facts giving rise to same, he or she shall respond by saying only,"I have no comment
              other than this matter wasresolved."

                  15(a)(1). Notwithstanding the above, Releasor may communicate, only as necessary,
                  Confidential Information to professional advisors, such as accountants, bankers,
                  insurers, or attorneys in connection with the discharge of those professionals'
                  engagements by Releasor. In doing so,Releasor agrees to advise said professional of
                  the terms of this Confidentiality Provision, and obtain the agreement and assurance of
                  that professional that he or she will abide by the same. Releasor may also disclose
                  Confidential Information as required by law or court order. Under such
                  circumstances, no less than ten (10) business days before the required disclosure,
                  Releasor shall notify Uber Technologies, Inc. in writing via email at insurance-lit-
                  attomeys-groupauber.com and b re stered mail at Attn: Uber Lega
                                                               for the purpose of enabling t e e ease
                       es o e ac on to unit or prevent t e disclosure of Confidential Information as
                  deemed necessary. In the event Releasor violates this Confidentiality Provision ofthe
                  Release, Releasor agrees to pay to Uber Technologies,Inc.[25% ofsettlement amount]in


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                  liquidated damages per violation plus reasonable attorneys' fees and costs incurred to
                  enforce this Release.

                  15(a)(2). This Confidentiality Provision is independent of all other terms or provisions
                  ofthis Release. Any breach of this Confidentiality Provision shall not abridge,affect,
                  breach, discharge, impair, void or waive any other terms or provisions ofthis Release,
                  or any other right or obligation under this Release, all ofwhich shall survive and remain
                  in full force and effect notwithstanding any breach ofthis Confidentiality provision

                  15(a)(3). The disclosure of Confidential Information, in violation of this
                  Confidentiality Provision, shall be a material breach of the Release. Releasor
                  acknowledges and agrees that such a breach of the Confidentiality Provision would
                  cause irre-parable harm to the Released Parties. The Released Parties shall be entitled
                  to an injunction against any further violation ofthe Release.

                  15(a)(4). By execution of this Release, Releasor and Releasor's attorney affirm that
                  they have not previously disclosed the terms of the Release or the value of the
                  Settlement Funds to any person or entity.

      15(b) Non-Disparagement. Releasor and Releasor's attorney agree that they will not take any
      action or make any statements, verbal, electronic, or written, to any third-party that disparage or
      defame the Released Parties with regard to the Incident and the related Claim.By execution ofthis
      Release, Releasor also directs Releasor's attorney to adhere to terms as stated in this Non-
      Disparagement Provision specifically with regard to the Incident and the related Claim. Nothing in
      this clause restricts the Releasor's attorney's ability to exercise their independent professional
      judgement in any future claims that may be brought against the Released Parties that arise out of
      unrelated incidents. Any future claims or complaints brought against the Released Parties arising
      out of an unrelated incident shall not be seen as a violation of this Non-Disparagement Clause,
      except however, that this Non-Disparagement Clause shall continue to govern and apply to the
      Incident and Claim that is the subject of thisRelease.

              Section 16: Governing Law.Regardless where executed,this Release shall be deemed to
       have been made and performed in California. All rights arising under this Release,and all disputes
       and controversies arising from or in connection with this Release, shall be governed by and
       determined in accordance with the internal substantive and remedial laws of California only,and
       without regard for any choice of laws rules.

               Section 17: No Ambiguities. The Parties acknowledge that this Release has been
       negotiated at arm's length among persons knowledgeable in the matters herein. Accordingly,any
       rule of law,including, but not limited to, California Civil Code Section 1654,or any other statute,
       legal decision, or common law principle ofsimilar effect, that would require interpretation of any
       ambiguity in this Release againstthe party that has drafted it, is ofno application here and is hereby

                           CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
                                            Claim Number:
                                                   Page 7 of9
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       expressly waived. This Release and its provisions shall be interpreted in a reasonable manner to
       give effect to the Parties' mutualintentions.

            Section 18: Section 1542 Waivers. RELEASOR EXPRESSLY WAIVES AND
       RELINQUISHES ALL RIGHTS AND BENEFITS AGAINST THE RELEASED PARTIES
       AFFORDED BY SECTION 1542 OF THE CIVIL CODE OF CALIFORNIA, AND DOES
       SO UNDERSTANDING AND ACKNOWLEDGING THE SIGNIFICANCE AND
       CONSEQUENCE OF SUCH SPECIFIC WAIVER OF SECTION 1542.SECTION 1542 READS
       AS FOLLOWS:

            "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
            TO EXIST TN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
            RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
            MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
            DEBTOR OR RELEASED PARTY."




                          CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
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             Section 19: Execution in Counterparts. This Release may be executed in counterparts. A
       photocopy or facsimile copy of this fully-executed Release may be used in lieu of the original
       executed copy for all purposes, and shall be binding on the parties hereto as though an original
       executed Release.

       PLEASE READ CAREFULLY.THIS AGREEMENT AND GENERAL RELEASE OF CLAIMS
       INCLUDES A RELEASE OF ALL KNOWN OR UNKNOWN CLAIMS. RELEASOR HAS
       READ THIS RELEASE, UNDERSTANDS AND ACCEPTS EACH OF ITS TERMS, AND
       AGREES TO BE FULLY BOUND BY IT.


       Releasor's Name(printed)                                   Releasor's Signature

      (Notary Seal)
      Subscribed and sworn to by
       before meon             ,in           County,
                             .Signature ofNotary:
                                Printed Name ofNotary:

       Notary Public,State of              ,County of
       My commission expires:



       Attorney's Name (printed)                             Attorney's Signature
       Agreed as to Confidentiality and
       Non-Disparagement and Consent to be bound by the same




                          CONFIDENTIAL AGREEMENT AND GENERAL RELEASE OF ALL CLAIMS
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 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330W Broadway
 MAILING ADDRESS:     330W Broadway
 CITY AND ZIP CODE:   San Diego, CA 92101-3827
 DIVISION:            Central
 TELEPHONE NUMBER: (619)450-7069

 PLAINTIFF(S)/ PETITIONER(S):               Alexander Gavric
 DEFENDANT(S)/ RESPONDENT(S): Uber Technologies Inc et.al. .


 GAVRIC VS UBER TECHNOLOGIES INC[E-FILE]
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE                                     CASE NUMBER:
                           (CIVIL)                                                            37-2022-00027585-CU-BT-CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
J udge: Katherine Bacal                                                               Department: C-69


COMPLAINT/PETITION FILED: 07/12/2022


TYPE OF HEARING SCHEDULED                             DATE         TIME             DEPT               JUDGE
Civil Case Management Conference                      12/16/2022   09:30 am        C-69                Katherine Bacal


Due to the COVID-19 pandemic, all Case Management Conferences (CMCs) are being conducted virtually unless there is a
court order stating otherwise. Prior to the hearing date, visit the "virtual hearings" page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.gov.
A Case Management Statement(JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court(SDSC)Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR)options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR)(SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint(SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters(SDSC Form #ADM-317)for further information.
ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                            (CIVIL)      -
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                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil)(SDSC Form
#CIV-409)and Cal. Rules of Court, rules 2.250-2.261.
All Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).
It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil)(SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.
On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED
FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.
The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court's website at www.sdcourt.ca.00v.




                                                                                                                                        Page: 2
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                                                                                                                                                             CM-010
  ATTORNEY OR PARTY \MTHOUT ATTORNEY (Name State Bar number and address):                                                   FOR COURT USE ONLY
'---Robert Hamparyan, Esq.(SBN 181934); Aida Van Herk,Esq.(SBN 297607)
       HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO,APC
       275 West Market Street
       San Diego, CA 92101
           TELEPHONE NO.:019)550-1355              FAX NO.: (619) 550-1356
                                                                                                               tabifitillitALL
    ATTORNEY FOR (Name): rlamtiff and Putative Class
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN DIEGO                                                                    County of San Diego
       STREET ADDRESS; 330 W Broadway
                                                                                                                 O7I12i2O22 at 06:50:59 PM
       MAILING ADDRESS: 330 W Broadway
      CITY AND ZIP CODE: San Diego 92101
                                                                                                                 Clerk,of the. Superior'Court
                                                                                                              By JiniYy $i6]ritf,1361istify; Clerk:
          BRANCH NAME: CENTRAL DIVISION
       CASE NAME:
     GAVRIC,et al. v. UBER TECHNOLOGIES,INC., et al.
                                                                                            CASE NUMBER:
       CIVIL CASE COVER SHEET                           Complex Case Designation                         37-2022-00027585- CU-BT- CTL
   El Unlimited        -
                       1 1 Limited
        (Amount              (Amount                      Counter       ri Joinder
                                                                                             JUDGE:
         demanded             demanded is          Filed with first appearance by defendant         Judge Katherine Baca!
        exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                 Items 1-6 below must be completed (see instructions on page 2).
   1. Check one box below for the case type that best describes this case:
       Auto Tort                                         Contract                             Provisionally Complex Civil Litigation
             Auto (22)                                   El Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
       Ell Uninsured motorist(46)                        F7    Rule 3.740 collections(09)          LI
                                                                                                    AntitrustfTrade regulation (03)
       Other PI/PDNVD (Personal Injury/Property                Other collections (09)               Construction defect(10)
       Damage/Wrongful Death)Tort                              Insurance coverage (18)              Mass tort(40)
       -
       I7    A• sbestos(04)                               Ell Other contract(37)                   LII       Securities litigation (28)
       El Product liability (24)                          Real Property                            LI        Environmental/Toxic tort (30)
       -
       I7      M• edical malpractice (45)                n          Eminent domain/Inverse          El Insurance coverage claims arising from the
       17     Other PUPDAND (23)                                 condemnation (14)                           above listed provisionally complex case
                                                                                                             types(41)
       Non-PI/PD/WD (Other)Tort                           -
                                                          1   1 W• rongful eviction (33)
              Business tort/unfair business practice (07)1 -1     O• ther real property(26)         Enforcement of Judgment
       LIII   Civil rights (08)                           Unlawful Detainer                         =      Enforcement ofjudgment(20)
              Defamation (13)                                    Commercial (31)                    Miscellaneous Civil Complaint
              Fraud (16)                                          Residential (32)                  = RICO (27)
              Intellectual property(19)                          Drugs (38)                        F7    Other complaint (not specified above)(42)
            Professional negligence (25)                  Judicial Review                           Miscellaneous Civil Petition
             Other non-PI/PD/WD tort(35)                        Asset forfeiture (05)              -
                                                                                                   I 1     P• artnership and corporate governance (21)
                                                                Petition re: arbitration award (11)
       Employment                                                                                  1--1  O• ther petition (not specified above)(43)
       -
       1 -1 W• rongful termination (36)                  LI     Writ of mandate (02)
       El Other employment(15)                           LI     Other judicial review(39)
  2. This case I 4/1 is       F-1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management
     a Ll Large number of separately represented parties d. 1111 Large number of witnesses
     b. Ej Extensive motion practice raising difficult or novel e. LII Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
              Substantial amount of documentary evidence        f. LI Substantial postjudgment judicial supervision
  3.    Remedies sought (check all that apply): a.r7 monetary b.n nonmonetary; declaratory or injunctive relief                                 c.1=Ipunitive
  4.    Number of causes of action (specify): Seven(7)
  5.    This case n is         ET is not a class action suit.
  6.    If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
  Date: July 12, 2022
  Robert Hamparyan,Esq.
                                 (TYPE OR PRINT NAME)                                            (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                        NOTICE
   • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
   • File this cover sheet in addition to any cover sheet required by local court rule.
   * If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
   • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                             Paget of 2
  Form Adopted for Mandatory Use                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
    Judicial Council of California
                                                         CIVIL CASE COVER SHEET                                       Cal. Standards of Judicial Administration, std. 3.10
    CM-010[Rev. July 1,2007]                                                                                                                        www.courtinfo.ca.gov
                                                                                                                                                American LegalNet, Inc.
                                                                                                                                                www.FormsWorldlow.com
    Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.62 Page 51 of 61

                                                                                                                              ' FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREET ADDRESS:           330 West Broadway
  MAILING ADDRESS:          330 West Broadway
  CITY, STATE,& ZIP CODE:   San Diego, CA 92101-3827
  BRANCH NAME:              Central

  PLAINTIFF(S):       Alexander Gavric

  DEFENDANT(S): Uber Technologies Inc et.al.

  SHORT TITLE:        GAVRIC VS UBER TECHNOLOGIES INC [E-FILE]

                            STIPULATION TO USE ALTERNATIVE                                                       CASE NUMBER:
                               DISPUTE RESOLUTION (ADR)                                                          37-2022-00027585-CU-BT-CTL

  Judge: Katherine Bacal                                                                              Department: C-69

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR)process. Selection of any of these options will not delay any case management timelines.
     El     Mediation (court-connected)                                  LI Non-binding private arbitration

     D      Mediation (private)                                                Binding private arbitration

     LI     Voluntary settlement conference (private)                    LI Non-binding judicial arbitration (discovery until 15 days before trial)

     LI     Neutral evaluation (private)                                 1:1   Non-binding judicial arbitration (discovery until 30 days before trial)

     LI     Other (specify e.g., private mini-trial, private judge, etc.):




   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral:(Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                       Date:




  Name of Plaintiff                                                                           Name of Defendant




  Signature                                                                                  Signature



  Name of Plaintiffs Attorney                                                                 Name of Defendant's Attorney




  Signature                                                                                  Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 07/14/2022                                                                                          JUDGE OF THE SUPERIOR COURT
SDSC CIV-359(Rev 12-10)                                                                                                                                  Page: 1
                                      STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
    Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.63 Page 52 of 61

                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION



CASE NUMBER:37-2022-00027585-CU-BT-CTL                     CASE TITLE: Gavric vs Uber Technologies Inc[E-File]


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
              (1)this Alternative Dispute Resolution (ADR)Information form (SDSC form #CIV-730),
              (2)the Stipulation to Use Alternative Dispute Resolution (ADR)form (SDSC form #CIV-359), and
              (3)the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR,the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

          Potential Advantages                               Potential Disadvantages
          • Saves time                                       • May take more time and money if ADR does not
          • Saves money                                        resolve the dispute
          • Gives parties more control over the dispute      • Procedures to learn about the other side's case (discovery),
            resolution process and outcome                     jury trial, appeal, and other court protections may be limited
          • Preserves or improves relationships                or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.00v/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730(Rev 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION                                                  Page: 1
    Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.64 Page 53 of 61

'Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
 obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
 parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
 most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
 neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005)can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that:(1)settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed;(2)a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3)the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc.§ 1141.10 et seq or contact the Arbitration Program Office at(619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.qov/adr or contact the
court's Mediation/Arbitration Office at(619)450-7300.

Dispute Resolution Programs Act(DRPA)funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       • In Central, East, and South San Diego County, contact the National Conflict Resolution Center(NCRC)at
           www.ncrconline.conn or (619)238-2400.
      • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.orq or(760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.goviselfhelD/lowcost.




SDSC CIV-730(Rev 12-10)
                           ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION                                             Page: 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.65 Page 54 of 61

 Attorney or Party without Attorney:                                                                                    For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                                   Ref. No. or File No.:
                            Plaintiff individually and on behalf of
                                                                      4442
                            all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

            PROOF OF SERVICE                       Hearing Date:          Time:               Dept/Div:      Case Number:
                                                   12/16/2022             9:30AM              C-69           37-2022-00027585-CU-BT-CTL
               SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the SUMMONS; CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; CIVIL CASE COVER
      SHEET; NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE (CIVIL); ALTERNATIVE DISPUTE RESOLUTION
      (ADR) INFORMATION; STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR)

3.    a.    Party served:            PROGRESSIVE COMMERCIALCASUALTYCORP dba PROGRESSIVE INSURANCE, a Ohio corporation
      b.    Person served:           Jessie Gastelum, Intake Specialist, CT Corporation System, Registered Agent

4.    Address where the party was served:               330 N Brand Blvd Suite 700, Glendale, CA 91203

5.    I served the party:
      a. by personal service.           I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                        service of process for the party (1) on (date): Mon, Aug 15 2022 (2) at (time): 12:40 PM
      (1)         X      (business)
      (2)                (home)
      (3)                (other) :


6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.               as an individual defendant.
      b.               as the person sued under the fictitious name of (specify):
      c.               as occupant.
      d.     X         On behalf of (specify): PROGRESSIVE COMMERCIALCASUALTYCORP dba PROGRESSIVE INSURANCE, a Ohio corporation
                       under the following Code of Civil Procedure section:
                        X      416.10 (corporation)                                              415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                      416.60 (minor)
                               416.30 (joint stock company/association)                          416.70 (ward or conservatee)
                               416.40 (association or partnership)                               416.90 (authorized person)
                               416.50 (public entity)                                            415.46 (occupant)
                               other:



                      Judicial Council Form POS-010                       PROOF OF                                                              7509909
                      Rule 2.150.(a)&(b) Rev January 1, 2007               SERVICE                                                           (15051447)
                                                                          SUMMONS                                                            Page 1 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.66 Page 55 of 61

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff individually and on behalf of
                                                                 4442
                       all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

           PROOF OF SERVICE                   Hearing Date:          Time:               Dept/Div:     Case Number:
                                              12/16/2022             9:30AM              C-69          37-2022-00027585-CU-BT-CTL
              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                           Douglas Forrest
      b. Address:                        c/o FIRST LEGAL
                                         530 B Street, Suite 1050
                                         SAN DIEGO, CA 92101
      c.    Telephone number:            (619) 231-9111
      d.    The fee for service was:     $50.05
      e.    I am:
            (1)         not a registered California Process Server.
            (2)          exempt from registration under Business and Professions Code section 22350(b).
            (3)    X     a registered California process server:
                         (i)         owner         employee       X independent contractor
                         (ii)    Registration No: 5141
                         (iii)   County: Los Angeles




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                08/16/2022
                                                                                    (Date)                              Douglas Forrest




                  Judicial Council Form POS-010                      PROOF OF                                                                7509909
                  Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                             (15051447)
                                                                     SUMMONS                                                              Page 2 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.67 Page 56 of 61

 Attorney or Party without Attorney:                                                                                   For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                                   Ref. No. or File No.:
                          Plaintiff individually and on behalf of
                                                                      4442
                          all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

            PROOF OF SERVICE                       Hearing Date:          Time:               Dept/Div:     Case Number:
                                                   12/16/2022             9:30AM              C-69          37-2022-00027585-CU-BT-CTL
               SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the SUMMONS; CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; CIVIL CASE COVER
      SHEET; NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE (CIVIL); ALTERNATIVE DISPUTE RESOLUTION
      (ADR) INFORMATION; STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR)

3.    a.    Party served:            RASIER, LLC, a Delaware limited liability company
      b.    Person served:           Jessie Gastelum, Intake Specialist, CT Corporation System, Registered Agent

4.    Address where the party was served:             330 N Brand Blvd Suite 700, Glendale, CA 91203

5.    I served the party:
      a. by personal service.            I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                         service of process for the party (1) on (date): Mon, Aug 15 2022 (2) at (time): 12:40 PM
      (1)         X      (business)
      (2)                (home)
      (3)                (other) :


6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.                as an individual defendant.
      b.                as the person sued under the fictitious name of (specify):
      c.                as occupant.
      d.      X         On behalf of (specify): RASIER, LLC, a Delaware limited liability company
                        under the following Code of Civil Procedure section:
                               416.10 (corporation)                                              415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                      416.60 (minor)
                               416.30 (joint stock company/association)                          416.70 (ward or conservatee)
                               416.40 (association or partnership)                               416.90 (authorized person)
                               416.50 (public entity)                                            415.46 (occupant)
                         X     other:     limited liability company



                      Judicial Council Form POS-010                       PROOF OF                                                             7509892
                      Rule 2.150.(a)&(b) Rev January 1, 2007               SERVICE                                                          (15051442)
                                                                          SUMMONS                                                           Page 1 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.68 Page 57 of 61

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff individually and on behalf of
                                                                 4442
                       all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

           PROOF OF SERVICE                   Hearing Date:          Time:               Dept/Div:     Case Number:
                                              12/16/2022             9:30AM              C-69          37-2022-00027585-CU-BT-CTL
              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                           Douglas Forrest
      b. Address:                        c/o FIRST LEGAL
                                         530 B Street, Suite 1050
                                         SAN DIEGO, CA 92101
      c.    Telephone number:            (619) 231-9111
      d.    The fee for service was:     $138.80
      e.    I am:
            (1)         not a registered California Process Server.
            (2)          exempt from registration under Business and Professions Code section 22350(b).
            (3)    X     a registered California process server:
                         (i)         owner         employee       X independent contractor
                         (ii)    Registration No: 5141
                         (iii)   County: Los Angeles




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                08/16/2022
                                                                                    (Date)                              Douglas Forrest




                  Judicial Council Form POS-010                      PROOF OF                                                                7509892
                  Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                             (15051442)
                                                                     SUMMONS                                                              Page 2 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.69 Page 58 of 61

 Attorney or Party without Attorney:                                                                                   For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                                   Ref. No. or File No.:
                          Plaintiff individually and on behalf of
                                                                      4442
                          all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

            PROOF OF SERVICE                       Hearing Date:          Time:               Dept/Div:     Case Number:
                                                   12/16/2022             9:30AM              C-69          37-2022-00027585-CU-BT-CTL
               SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

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      SHEET; NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE (CIVIL); ALTERNATIVE DISPUTE RESOLUTION
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      (3)                (other) :


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      b.                as the person sued under the fictitious name of (specify):
      c.                as occupant.
      d.      X         On behalf of (specify): RASIER-CA, LLC, a Delaware limited liability company
                        under the following Code of Civil Procedure section:
                               416.10 (corporation)                                              415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                      416.60 (minor)
                               416.30 (joint stock company/association)                          416.70 (ward or conservatee)
                               416.40 (association or partnership)                               416.90 (authorized person)
                               416.50 (public entity)                                            415.46 (occupant)
                         X     other:     limited liability company



                      Judicial Council Form POS-010                       PROOF OF                                                             7509917
                      Rule 2.150.(a)&(b) Rev January 1, 2007               SERVICE                                                          (15051445)
                                                                          SUMMONS                                                           Page 1 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.70 Page 59 of 61

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff individually and on behalf of
                                                                 4442
                       all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

           PROOF OF SERVICE                   Hearing Date:          Time:               Dept/Div:     Case Number:
                                              12/16/2022             9:30AM              C-69          37-2022-00027585-CU-BT-CTL
              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                           Douglas Forrest
      b. Address:                        c/o FIRST LEGAL
                                         530 B Street, Suite 1050
                                         SAN DIEGO, CA 92101
      c.    Telephone number:            (619) 231-9111
      d.    The fee for service was:     $50.05
      e.    I am:
            (1)         not a registered California Process Server.
            (2)          exempt from registration under Business and Professions Code section 22350(b).
            (3)    X     a registered California process server:
                         (i)         owner         employee       X independent contractor
                         (ii)    Registration No: 5141
                         (iii)   County: Los Angeles




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                08/16/2022
                                                                                    (Date)                              Douglas Forrest




                  Judicial Council Form POS-010                      PROOF OF                                                                7509917
                  Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                             (15051445)
                                                                     SUMMONS                                                              Page 2 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.71 Page 60 of 61

 Attorney or Party without Attorney:                                                                                 For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                                 Ref. No. or File No.:
                          Plaintiff individually and on behalf of
                                                                    4442
                          all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
            situated
 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

            PROOF OF SERVICE                       Hearing Date:        Time:               Dept/Div:     Case Number:
                                                   12/16/2022           9:30AM              C-69          37-2022-00027585-CU-BT-CTL
               SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the SUMMONS; CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; CIVIL CASE COVER
      SHEET; NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE (CIVIL); ALTERNATIVE DISPUTE RESOLUTION
      (ADR) INFORMATION; STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR)

3.    a.    Party served:            UBER TECHNOLOGIES, INC., a Delaware corporation
      b.    Person served:           Jessie Gastelum, Intake Specialist, CT Corporation System, Registered Agent

4.    Address where the party was served:             330 N Brand Blvd Suite 700, Glendale, CA 91203

5.    I served the party:
      a. by personal service.            I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                         service of process for the party (1) on (date): Mon, Aug 15 2022 (2) at (time): 12:40 PM
      (1)         X      (business)
      (2)                (home)
      (3)                (other) :


6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.                as an individual defendant.
      b.                as the person sued under the fictitious name of (specify):
      c.                as occupant.
      d.      X         On behalf of (specify): UBER TECHNOLOGIES, INC., a Delaware corporation
                        under the following Code of Civil Procedure section:
                         X     416.10 (corporation)                                            415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                    416.60 (minor)
                               416.30 (joint stock company/association)                        416.70 (ward or conservatee)
                               416.40 (association or partnership)                             416.90 (authorized person)
                               416.50 (public entity)                                          415.46 (occupant)
                               other:



                      Judicial Council Form POS-010                     PROOF OF                                                             7509885
                      Rule 2.150.(a)&(b) Rev January 1, 2007             SERVICE                                                          (15051443)
                                                                        SUMMONS                                                           Page 1 of 2
           Case 3:22-cv-01391-BEN-DDL Document 1-2 Filed 09/13/22 PageID.72 Page 61 of 61

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Robert Hamparyan, Esq. (SBN 181934)
 HAMPARYAN PERSONAL INJURY LAWYERS SAN DIEGO, APC
 275 W Market Street
 San Diego, CA 92101
   Telephone No: 619-550-1355

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff individually and on behalf of
                                                                 4442
                       all others similarly situated
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
            ALEXANDER GAVRIC, individually and on behalf of all others similarly
     Plaintiff:
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 Defendant: UBER TECHNOLOGIES, INC., a Delaware corporation

           PROOF OF SERVICE                   Hearing Date:          Time:               Dept/Div:     Case Number:
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              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                           Douglas Forrest
      b. Address:                        c/o FIRST LEGAL
                                         530 B Street, Suite 1050
                                         SAN DIEGO, CA 92101
      c.    Telephone number:            (619) 231-9111
      d.    The fee for service was:     $50.05
      e.    I am:
            (1)         not a registered California Process Server.
            (2)          exempt from registration under Business and Professions Code section 22350(b).
            (3)    X     a registered California process server:
                         (i)         owner         employee       X independent contractor
                         (ii)    Registration No: 5141
                         (iii)   County: Los Angeles




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                08/16/2022
                                                                                    (Date)                              Douglas Forrest




                  Judicial Council Form POS-010                      PROOF OF                                                                7509885
                  Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                             (15051443)
                                                                     SUMMONS                                                              Page 2 of 2
